Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN Document 49-17
                                 50-3 Filed 06/10/24
                                            05/13/24 Page
                                                      Page11ofof90
                                                                 90PageID
                                                                    PageID1211
                                                                           1472

             1   UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA
             2   ORLANDO DIVISION
                 Cause No. 22-CV-1596-RMN
             3
                 JEAN DECARLO 22-CV-1596-RMN
             4   MYRNA PINEIRO 22-CV-1574-RMN
                 KIMBERLY GOUDE 22-CV-1511-RMN
             5   KEITH NYBERG 22-CV-1567-RMN
                 YOLANDA BERTSCHY 22-CV-1658-RMN
             6   MICHELLE CIOFFI 22-CV-2317-RMN
                 THERESA DAVIDSON 22-CV-2361-RMN
             7   BETTY BORGOS 23-CV-00475-RMN
                 PENELOPE ROBERGE 23-CV-00458-RMN
             8   PLAINTIFFS,

             9   V.

            10   EMERGE HEALTHCARE GROUP, LLC,
                 FCID MEDICAL, INC.,
            11   FIRST CHOICE MEDICAL GROUP OF BREVARD, LLC,
                 FIRST CHOICE HEALTHCARE SOLUTIONS, INC. AND
            12   LANCE FRIEDMAN, INDIVIDUALLY.
                 DEFENDANTS.
            13   ________________________________________/
                 VIDEOCONFERENCE DEPOSITION OF GILLEAN LEE
            14   DATE:       JULY 17, 2023
                 REPORTER: KAITLYN HARRIS
            15   PLACE:      ALL PARTIES APPEARED VIA VIDEOCONFERENCE

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Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page22of
                                                            Page  2of90
                                                                      90PageID
                                                                         PageID1212
                                                                                1473

    1                             APPEARANCES

    2

    3 ON BEHALF OF THE PLAINTIFFS, JEAN DECARLO, ET AL.:

    4 Joseph C. Wood, Esquire

    5 Arcadier, Biggie & Wood, PLLC

    6 2815 West New Haven, Suite 304

    7 Melbourne, Florida 32904

    8 Telephone No.: (321) 953-5998

    9 E-mail: wood@abwlegal.com

   10 (Appeared via videoconference)

   11

   12 ON BEHALF OF THE DEFENDANT,

   13 EMERGE HEALTHCARE GROUP, ET AL.:

   14 James Henderson, Esquire

   15 Frese Whitehead

   16 2200 Front Street

   17 Suite 301

   18 Melbourne, Florida 32901

   19 Telephone No.: (321)-984-3300

   20 E-mail: jhenderson@fresewhitehead.com

   21 (Appeared via videoconference)

   22

   23 Also Present:

   24 Henrietta Wegener, Law Intern

   25
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page33of
                                                            Page  3of90
                                                                      90PageID
                                                                         PageID1213
                                                                                1474

    1                                  INDEX

    2                                                          Page

    3 PROCEEDINGS                                                5

    4 DIRECT EXAMINATION BY MR. WOOD                             6

    5

    6                                EXHIBITS

    7 Exhibit                                                  Page

    8     1 - 9.16.22 Payroll                                   27

    9     2 - 9.27.22 Storm Bonus                               27

   10     3 - FL BCBS Contract                                  48

   11     4 - Employee Insurance Refunds                        57

   12     5 - Re: Group B8027 Reinstatement                     57

   13     6 - Florida Blue Reinstatement Update                 58

   14     7 - Re: Group B8027 FCMG - Reinstatement

   15         Option                                            60

   16     8 - United Healthcare Level Funder

   17         Employer Packet                                   62

   18     9 - Re: UHC Has Been Cancelled Back

   19         to 4/30/22                                        64

   20   10 - 11.22.22 Update                                    73

   21   11 - 1.6.23 E-mail Checking on Back Pay                 75

   22   12 - 1.6.23 E-mail With 1099 Docs                       77

   23   13 - 1099 Termination and Offer                         78

   24

   25
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page44of
                                                            Page  4of90
                                                                      90PageID
                                                                         PageID1214
                                                                                1475

    1                             STIPULATION

    2

    3 The videoconference deposition of Gillean Lee taken

    4 remotely on Monday the 17th day of July 2023 at

    5 approximately 9:59 a.m.; said deposition was taken

    6 pursuant to the Florida Rules of Civil Procedure.

    7

    8 It is agreed that Kaitlyn Harris, being a Notary Public

    9 and Court Reporter for the State of Florida, may swear

   10 the witness and that the reading and signing of the

   11 completed transcript by the witness is not waived.

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   25
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page55of
                                                            Page  5of90
                                                                      90PageID
                                                                         PageID1215
                                                                                1476

    1                     PROCEEDINGS

    2               THE REPORTER:     All right.    Will all parties

    3       except for the witness, please state your

    4       appearance, how you are attending and your location?

    5               MR. WOOD:   Joseph Wood on behalf of the

    6       plaintiffs in, I think there's nine or ten cases

    7       that are probably noticed for today.

    8               MR. HENDERSON:     James Henderson here on behalf

    9       of the defendants.        I'm located in Melbourne,

   10       Florida. I'm at my office.

   11               THE REPORTER:     Okay.   Ms. Lee, can you state

   12       your full name for the record and then show your ID

   13       as well?

   14               THE WITNESS:     Hold on, let me -- I just put it

   15       away.     Let me get it out.

   16               THE REPORTER:     It's okay.

   17               THE WITNESS:     All right.    I'm Gillean Katie

   18       Lee.

   19               THE REPORTER:     Okay.

   20               THE WITNESS:     Being depositioned today.

   21               THE REPORTER:     Okay.   Can you just show it all

   22       the way up to the -- just so we can zoom in so we

   23       can see it?     All the way to the camera.         Yes.

   24       Perfect. Thank you.        All right, do all parties agree

   25       that the witness is, in fact, Gillean Lee?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page66of
                                                            Page  6of90
                                                                      90PageID
                                                                         PageID1216
                                                                                1477

    1             MR. WOOD:     Appears that way.

    2             MR. HENDERSON:      Yes.

    3             THE REPORTER:      Okay.   All right.     All right.

    4       Ms. Lee, will you please raise your right hand?              Do

    5       you solemnly swear or affirm that the testimony that

    6       you are about to give will be the truth, the whole

    7       truth, and nothing but the truth?

    8             THE WITNESS:      Yes, I do.

    9             THE REPORTER:      Okay.   We are good to begin.

   10       Thank you.

   11             MR. WOOD:     All right, thank you.

   12                      DIRECT EXAMINATION

   13              BY MR. WOOD:

   14        Q.    Good morning, Ms. Lee.        My name is Joseph

   15 Wood. I am an attorney representing a number of former

   16 employees of the Emerge Healthcare Group, and they have

   17 sued for a few different things pertaining to wages,

   18 health insurance issues.         And we are going through the

   19 discovery process, and exchanging documents and taking

   20 depositions, which is why you're here today.              Have you

   21 had your deposition taken in the past?

   22        A.    One other time.

   23        Q.    Okay.     So I'm going to ask you some questions,

   24 find out what you know about the facts that give rise to

   25 the lawsuit, issues pertaining to the lawsuit.              If you
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page77of
                                                            Page  7of90
                                                                      90PageID
                                                                         PageID1217
                                                                                1478

    1 don't hear a question from me, let me know and I'll try

    2 to repeat it.        If you don't understand the question that

    3 I've asked, let me know and I'll try to rephrase it so

    4 that we can be on the same page.            If you need a break to

    5 use the restroom, whatever, let me know.             I don't know

    6 how long we'll go today, but I try to take a break about

    7 every hour.        I just ask that if there's a question

    8 pending, you answer it.         And typically we try to get

    9 through documents before we go on break, if possible. If

   10 -- please try to let me finish my question before you

   11 answer, and I will try to do the best to let you finish

   12 your answer before I begin.          We need a clean record. The

   13 court reporter's taking down everything that's being

   14 said.        It's very difficult for her to take down two

   15 lines of speech at the same time.           On those same lines,

   16 we also need verbal answers, yes or no, or appropriate.

   17 Head shakes won't work, uh-huhs, uh-uhs really don't

   18 show up well on a transcript.          So if, and it happens,

   19 you might use an answer that's maybe not yes or no, I'll

   20 maybe prompt you to try to get a verbal, clear answer

   21 out of you.

   22         A.      Understood.   Understood.

   23         Q.      Do you understand the instructions I've given

   24 you so far?

   25         A.      Yes, I do.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page88of
                                                            Page  8of90
                                                                      90PageID
                                                                         PageID1218
                                                                                1479

    1         Q.    Okay.   Now, in the lawsuit we have filed,

    2 there's a number of different companies or entities that

    3 we've filed.      First Choice Healthcare Solutions, FCID,

    4 FC Medical, Emerge Healthcare Group of Brevard, I

    5 believe, and we're going to be talking about really all

    6 of them.      And during the course of today's deposition,

    7 I'm really probably going to be referring to it as

    8 Emerge.      So do you do you understand who the Emerge

    9 families are?

   10         A.    Yes, I do.

   11         Q.    Okay.   And you worked for Emerge as --

   12 correct?

   13         A.    Yes, sir.

   14         Q.    Do you still work there?

   15         A.    I work for them as a contract employee, a

   16 1099.

   17         Q.    Okay.   And sitting here today, how much time

   18 do you put in by week for the companies?

   19         A.    20 to 30 hours.

   20         Q.    Okay.   So you consider yourself part-time now?

   21         A.    Yes, sir.

   22         Q.    Okay.   And the time frame we're really looking

   23 at is '21, '22, '23 primarily.           And you worked for

   24 Emerge during that time frame, right?

   25         A.    Yes, sir.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page99of
                                                            Page  9of90
                                                                      90PageID
                                                                         PageID1219
                                                                                1480

    1        Q.    And what was your role with Emerge?

    2        A.    My role was executive assistant to the CEO and

    3 CFO, and director of HR.         I also had business

    4 development filter up under me, so they reported to me

    5 as well.

    6        Q.    Okay.    So you were the assistant to Lance

    7 Friedman and Phil Keller; is that right?

    8        A.    Yes.

    9        Q.    And then you were the head of HR?

   10        A.    Yes, sir.

   11        Q.    And as the executive assistant to Mr. Friedman

   12 and Keller, what were your job duties?

   13        A.    I would do research.        I would draft notices.

   14 He -- if either one of them had notices that needed to

   15 go out to the employees, we would discuss with bullet

   16 points.     I would draft an initial draft, and send it to

   17 them to finalize, and then I would send those.              And

   18 again, I would do research for him regarding anything he

   19 needed research taken on.

   20        Q.    And today, do you still hold a role doing the

   21 executive assistant duties?

   22        A.    Yes, sir.     Yes, sir.

   23        Q.    And as the HR director, what were your duties

   24 in furtherance of that?

   25        A.    I worked with leadership if they were -- if
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page10
                                                            Page1010
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1220
                                                                                 1481

    1 they needed assistance in managing their team.               I worked

    2 with the leadership team in working on progressing the

    3 company.      Standard HR roles.       I worked with the

    4 leadership team on choosing health benefits, and if we

    5 needed -- if we needed to be hiring or firing staff. Any

    6 of those pieces.

    7         Q.    Okay.    And do you still fulfill those duties

    8 today?

    9         A.    Yes.

   10         Q.    And as the director of HR, would you fulfill

   11 that role for each of the subsidiary companies?

   12         A.    Yes.

   13         Q.    Okay.    There was -- the companies didn't have

   14 their own HR; you were HR over all of them.              Is that

   15 fair to say?

   16         A.    Correct.

   17         Q.    Okay.    Do you yourself, or did you, have the

   18 authority to hire or fire employees?

   19         A.    When it came to bringing on hourly employees,

   20 that decision was made not by just me.             I would work

   21 with the leadership that they'd be reporting to.               So it

   22 was a multi-person decision.           Same thing with

   23 terminations.

   24         Q.    And as part of the hiring and firing process,

   25 would you consult with Mr. Friedman on those
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page11
                                                            Page1111
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1221
                                                                                 1482

    1 determinations or decisions?

    2         A.    Yes.

    3         Q.    Okay.    And who would have the ultimate say in

    4 hiring an employee?

    5         A.    All salaried employees, the ultimate say came

    6 from -- the ultimate final decision came from Lance or

    7 from Phil, as the executive leadership.             For hourlies,

    8 the final decision was the leader over the area.

    9         Q.    Okay.    During the course of discovery,

   10 something called TriNet has popped up.             Are you familiar

   11 with that?

   12         A.    Yes.

   13         Q.    What is TriNet?

   14         A.    It's a -- it's a PPO.       It's a -- it's a plan

   15 -- it's a group you hire, and they manage your payroll

   16 and your benefits.        And they have usually some type of

   17 employee assistance programs, things like that.

   18         Q.    Okay.    What's a PPO?

   19         A.    Oh, now I've just forgotten.         It's a personnel

   20 -- it's basically -- it -- it's a personnel management

   21 group.

   22         Q.    Okay.

   23         A.    And I -- one of the words is personnel, the

   24 other one is organization, and I can't remember the

   25 third one.      I'm sorry.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page12
                                                            Page1212
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1222
                                                                                 1483

    1         Q.    Okay.    Now, TriNet did not employ the

    2 companies that worked for Emerge, right?

    3         A.    What -- I don't understand how you said that?

    4         Q.    Tri -- the employees that worked for Emerge,

    5 they were not employed by TriNet, right?

    6         A.    In the case of TriNet, yes.         That is how their

    7 process works, is they end up taking over your

    8 employees.      But they -- I still made, as HR, we still

    9 made ultimate decisions on -- on the employees.               But the

   10 way TriNet works, you become an employee of TriNet.

   11         Q.    And their W2s, where would that come from?

   12         A.    The W2s were still -- were done -- were

   13 processed out of TriNet.

   14         Q.    And the employer listed on the W2 would be

   15 who?

   16         A.    I'm sorry.     The employer?

   17         Q.    The employer on the W2.

   18         A.    It would depend on what company they worked

   19 for.

   20         Q.    It would not say TriNet on the W2.

   21         A.    No.

   22         Q.    Okay.

   23         A.    No.

   24         Q.    So TriNet would process the W2s and make sure

   25 that they're in compliance with the deadlines and the
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page13
                                                            Page1313
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1223
                                                                                 1484

    1 law; is that right?

    2         A.    Yes.    Yes.

    3         Q.    The wages that these employees would earn,

    4 they were not funded by TriNet; is that right?

    5         A.    Correct.

    6         Q.    The wages would be paid from Emerge?

    7         A.    Correct.

    8         Q.    And the benefits that these employees would

    9 have would be benefits that Emerge provided, not TriNet;

   10 is that right?

   11         A.    When you say provided, I don't know what you

   12 mean.

   13         Q.    Okay.    So I guess, and we're going to go over

   14 the two health insurance plans later, but the benefits

   15 were not paid for by TriNet.           They were paid for by

   16 Emerge, right?

   17         A.    Correct.

   18         Q.    And the, for instance healthcare, those were

   19 healthcare plans -- those were Emerge healthcare plans,

   20 not TriNet healthcare plans, right?

   21         A.    They were Tri -- they -- they were healthcare

   22 plans brought forward by TriNet for the company to

   23 participate in.        Does that make sense?

   24         Q.    Are you saying that TriNet proposed these

   25 plans to Emerge?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page14
                                                            Page1414
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1224
                                                                                 1485

    1         A.    Correct.

    2         Q.    Okay.    And then ultimately Emerge took out the

    3 group plan, signed the documents in furtherance of that,

    4 right?

    5         A.    Correct.

    6         Q.    Okay.    Now, some of the plaintiffs received

    7 paychecks from FCID until around April of '22.               And

    8 after April of '22, I think it was April 3rd, they

    9 started receiving paychecks from FC Medical Group.                 Do

   10 you -- are you familiar with that?

   11         A.    Yes.

   12         Q.    And why was there a change of where the

   13 paychecks came from for these employees?

   14         A.    The way the company is structured, the

   15 employees who were in administrative roles worked for

   16 FCID as a company.        Those who were under medical roles,

   17 worked for FCMG, First Choice Medical Group, as a

   18 company, and/or Emerge as well.           And both of those fall

   19 under -- Emerge is the cap on those.             When we switched

   20 over to TriNet, the decision was made by Lance and Phil

   21 that everyone would fall under FCMG.

   22         Q.    Okay.    Were the employees informed of this

   23 change when it happened, that they were -- their

   24 employer was now going to be FCMG as opposed to FCID?

   25         A.    No, because it would've had no bearing on
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page15
                                                            Page1515
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1225
                                                                                 1486

    1 them.

    2         Q.    Okay.

    3         A.    There was no -- they -- they were still

    4 working for the same company.

    5         Q.    There was -- there was no difference between

    6 working for FCID or FC Medical Group, so the -- it was a

    7 seamless transition?

    8         A.    Correct.

    9         Q.    Their job duties did not change, correct?

   10         A.    Correct.

   11         Q.    And their pay did not change either?

   12         A.    Correct.

   13         Q.    Now, the transition to TriNet, did that align

   14 with the transition to UnitedHealthcare also?

   15         A.    Yes, it did.

   16         Q.    And I'm sure you're aware that some employees

   17 have not been paid all of their wages from Emerge,

   18 right?

   19         A.    Yes.

   20         Q.    Based on what I've seen, Emerge seems to have

   21 stopped paying payroll to everyone for the time period

   22 June 13-22 through approximately -- well, the end of

   23 their tenures.        Is that -- is that fair to say?

   24         A.    Yes.

   25         Q.    Okay.    In your role as HR director, have you
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page16
                                                            Page1616
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1226
                                                                                 1487

    1 calculated how much each employee is owed in back wages?

    2         A.    That was not my specific role.          I have seen

    3 documentation of it.         That was something that would be

    4 -- that would've been managed by our payroll

    5 administrator and CFO.

    6         Q.    Who was the payroll administrator?

    7         A.    Ruby Rodriguez.      Or no, I'm sorry.      Ruby

    8 Rosado.

    9         Q.    Yeah.    I think it was both at one time.

   10 Rodriguez and -- yeah.         So Ruby put together a

   11 calculation that you reviewed.           Is that what you're

   12 saying?

   13         A.    At the -- at the direction of Phil, and

   14 possibly our controller, we -- there was calculations

   15 put together so that it was tracked what was going on

   16 with people's payroll, if that was your question.

   17         Q.    And that -- the controller, that's Julie

   18 Hardesty, right?

   19         A.    Correct.

   20         Q.    Okay.    Do you know if some employees have been

   21 paid since that June time frame?

   22         A.    I am aware that there were some employees paid

   23 since that June time frame, yes.

   24         Q.    Okay.    Do you know if Lance has been paid

   25 since then?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page17
                                                            Page1717
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1227
                                                                                 1488

    1         A.    Not to my knowledge.

    2         Q.    Do you know if Phil has?

    3         A.    Not to my knowledge.

    4         Q.    And sitting here today, does -- are you owed

    5 anything from Emerge?

    6         A.    I am currently still owed -- owed money from

    7 Emerge.      Yes.

    8         Q.    And I guess I need to clarify.          From your time

    9 as an employee as opposed to a contractor, are you owed

   10 money?

   11         A.    There are -- there are still funds due to me,

   12 yes.

   13         Q.    Okay.    Do you know the reason why employees

   14 were not paid their wages?

   15         A.    The company did not have enough funds to be

   16 able to produce the compensation.

   17         Q.    And despite this, the employees continued to

   18 work, correct?

   19         A.    Correct.

   20         Q.    Whose decision was it to allow the continue --

   21 the employees to continue to work without being paid

   22 their wages?

   23         A.    Ultimately, the decision came down from the

   24 leadership of the company, so Lance and Phil.

   25         Q.    Okay.    Do you recall having any specific
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page18
                                                            Page1818
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1228
                                                                                 1489

    1 conversations about that issue?

    2         A.    It was a concern, and there was an ongoing --

    3 it was ongoing that we were trying to raise capital. And

    4 there was concern because the medical practice was not

    5 bringing in enough funding to cover payroll.

    6         Q.    Do you know if one of the issues was the

    7 compensation of the doctors?           The -- their compensation

    8 was high, whereas their revenues, their intake was low?

    9         A.    Yes.    That is a true statement.

   10         Q.    Okay.    Now, the company went through a DOL,

   11 Department of Labor investigation, correct?

   12         A.    Correct.

   13         Q.    Were you in involved in that investigation at

   14 all?

   15         A.    Yes, sir.

   16         Q.    And what was your involvement in the DOL

   17 investigation?

   18         A.    I was the -- the contact, along with Phil.

   19         Q.    And do you recall what they were looking into?

   20         A.    Do you mean -- can you -- can you say that

   21 again?

   22         Q.    So the DOL did an investigation.          Do you

   23 recall specifically what they were investigating?

   24         A.    Yes.    They were investigating the period of

   25 time that employees had not received pay --
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page19
                                                            Page1919
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1229
                                                                                 1490

    1         Q.    Okay.

    2         A.    From July and the first week of August.

    3         Q.    Okay.    Are you aware of the outcome of the

    4 investigation?

    5         A.    Yes.

    6         Q.    And what was the outcome?

    7         A.    We have resolved with the Department of Labor.

    8 We have funded the Department of Labor the amount of

    9 funds that they said were due based on hourly wages. And

   10 to the best of my knowledge, they have distributed those

   11 funds, or in -- or are in the process of distributing

   12 those funds to those employees.

   13         Q.    Do you know if there was a written

   14 determination from the DOL, or a written agreement

   15 between Emerge and the DOL?          Let me -- let me go back.

   16 You said that the DOL made a determination as to what

   17 was owed; is that right?

   18         A.    Yes.

   19         Q.    Do you know if that determination was a -- was

   20 relayed to Emerge in a written communication?

   21         A.    Yes.

   22         Q.    And you -- have you reviewed that before?

   23         A.    I have seen it, yes.

   24         Q.    Okay.    Where would that communication be

   25 maintained at Emerge?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page20
                                                            Page2020
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1230
                                                                                 1491

    1         A.     It's -- it's held in our -- our files as a --

    2 under Department of Labor Investigations.               I have a copy

    3 of it.       Phil has a copy of the whole file.

    4         Q.     Okay.   And within that file, would there be

    5 communications back and forth between you, or Emerge,

    6 and the DOL as part of this investigation?

    7         A.     Anything that they had questioned us about, or

    8 anything that I needed to respond to, yes.

    9         Q.     Okay.   Now, I spoke to an investigator with

   10 the DOL, I think a few months ago now.             And they

   11 indicated that there was issues with obtaining

   12 information or documents from Emerge.             Specifically, I

   13 believe, information pertaining to the lawsuits that

   14 have been filed against Emerge.           Are you aware of the

   15 DOL requesting that information from Emerge?

   16               MR. HENDERSON:     Objection.     Form.

   17         A.     I provided all of the lawsuit information to

   18 the Department of Labor.          They have received everything

   19 that they needed to, to make their notation and manage

   20 that in their -- however they manage it.

   21                BY MR. WOOD:

   22         Q.     I think that the issue might have been that

   23 there was a list or a spreadsheet, but not the actual

   24 complaints.       Do you recall sending the complaints to

   25 DOL, or just a list of the names?             I think we might be
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page21
                                                            Page2121
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1231
                                                                                 1492

    1 frozen.

    2              MR. HENDERSON:      Yeah.

    3         A.    I sent them (audio cuts out).

    4              MR. HENDERSON:      Oh.

    5              MR. WOOD:    Oh, you're back.       Okay.

    6              MR. HENDERSON:      You were frozen there for a

    7        second.

    8               BY MR. WOOD:

    9         Q.    So we didn't get an answer at all.          So my

   10 question was, do you recall sending the complaints or

   11 just a list to the DOL?

   12         A.    I sent a copy of the complaints.

   13         Q.    Okay.    Now, as part of these lawsuits, we've

   14 also exchanged a lot of documents, a lot of e-mails. And

   15 we're going to go over some e-mails later on today. A

   16 lot of the e-mails from your e-mail address appear to be

   17 messages from Lance.         And I guess I'm assuming as part

   18 of your role as the executive assistant, would you relay

   19 the messages from Lance to the employees?

   20         A.    Yes.    So that was done actually as the

   21 director of HR for him.

   22         Q.    Okay.

   23         A.    But I also relayed messages as the executive

   24 assistant.       But in that case, any of those messages were

   25 coming from -- from -- sent from HR, based on his
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page22
                                                            Page2222
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1232
                                                                                 1493

    1 direction.

    2         Q.    Can you recall any incidents where you

    3 would've sent something from your e-mail account that

    4 was not approved, or reviewed, or signed off on by Lance

    5 before it was sent out by you?

    6         A.    No, I would not have done that.

    7         Q.    Okay. And we might look at it today, I'm not

    8 sure. I've even seen an e-mail where an e-mail came from

    9 your e-mail address but had Lance's signature at the

   10 bottom of the e-mail, like a signature block. Would that

   11 have been you just copying and pasting an e-mail from

   12 Lance, and pasting it into a new e-mail to send out?

   13         A.    Upon his direction, yes.

   14         Q.    Yes.

   15         A.    Or directive.      Yes.

   16         Q.    While we're on the topic of signatures, do you

   17 have a -- an electronic copy of Mr. Friedman's signature

   18 for you to use?

   19         A.    Yes, I do.

   20         Q.    And would you ever use that without his

   21 approval?

   22         A.    No, sir.

   23         Q.    Okay.    So if a contract were signed with Mr.

   24 Friedman's name on it, that would've been reviewed and

   25 approved by him, even if it's not his wet signature.                Is
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page23
                                                            Page2323
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1233
                                                                                 1494

    1 that fair to say?

    2              MR. HENDERSON:      Objection.    Form.

    3         A.    Yes.

    4               BY MR. WOOD:

    5         Q.    What was the reason why Lance wouldn't send

    6 some of these out on his own?

    7              MR. HENDERSON:      Objection.    Form.

    8               BY MR. WOOD:

    9         Q.    Are you -- let me -- let me clean that up.

   10 Are you aware of the reason why Mr. Friedman wouldn't

   11 send these e-mails on his own behalf?

   12         A.    I -- that was just part of my role in this --

   13 in this particular case.

   14         Q.    Okay.

   15         A.    Is -- is sending those messages out.           He's

   16 also -- he was extremely busy.

   17         Q.    Okay.    One thing we didn't cover in the very

   18 beginning is objections.          And throughout today, you'll

   19 hear objections from Mr. Henderson.            Oftentimes just

   20 like a form objection, is what we call it.              And those

   21 are just for preservation of the objection on the

   22 record.      However, if an objection is made, you're still

   23 required to answer.         The only time that wouldn't be

   24 appropriate would be if Mr. Henderson directs you to not

   25 respond to the question, which I don't foresee happening
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page24
                                                            Page2424
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1234
                                                                                 1495

    1 today.       But I just want to make sure that you're aware

    2 of, you're going to hear objections.             It's fine.     If you

    3 need to me to repeat the question after an objection is

    4 made, just let me know, but you're still required to

    5 answer them.          So I appreciate you answering so far.        And

    6 let's move on to, I think, our first document.                So I'm

    7 going to share my screen with you and go over some e-

    8 mails.       I think I have some PDFs also.        So let me open

    9 up the first one first.          And we're only a half hour in,

   10 but if you need a break, let me know.

   11         A.     Okay.     Thank you.

   12         Q.     Okay.     So I am sharing an e-mail.      It's a one-

   13 page PDF.       This e-mail is dated September 16, 2022, and

   14 it's signed by you from your e-mail address.              Take a

   15 minute to review it.          Let me know if you recognize this.

   16         A.     Uh-huh, I recognize it.

   17         Q.     And this is an e-mail from your e-mail

   18 account, right?

   19         A.     Yes.

   20         Q.     Do you recall the time frame when you

   21 transitioned from an employee to a contractor at Emerge?

   22         A.     January of 2023.

   23         Q.     Okay.

   24         A.     I believe it was effective the 9th.

   25         Q.     That would've taken place after the DOL
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page25
                                                            Page2525
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1235
                                                                                 1496

    1 investigation, right?

    2         A.    Correct.

    3         Q.    And so this e-mail here, you were still an

    4 employee of the companies?

    5         A.    Yes, sir.

    6         Q.    Let me ask you this: do you know where your

    7 paychecks came from, which company?

    8         A.    I'm sorry -- I'm sorry.        You cut out.

    9         Q.    My question was, do you remember where your

   10 paychecks came from, which entity?

   11         A.    Yes.

   12         Q.    Which one?

   13         A.    I'm an -- I was an employee of First Choice

   14 Healthcare Solutions.

   15         Q.    Was that the parent company?

   16         A.    Yes.

   17         Q.    Okay.    And you -- your job as HR was for all

   18 of the subsidiaries; is that right?

   19         A.    Yes, sir.     Yes.

   20         Q.    And did that include -- I think it was a -- it

   21 was a holding company for the building, Marina Towers, I

   22 think?

   23         A.    When it was in existence, yes.

   24         Q.    Okay.

   25         A.    But it had no employees.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page26
                                                            Page2626
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1236
                                                                                 1497

    1         Q.    Okay.     So back to the e-mail, here you

    2 mentioned that money had come in for back pay, correct?

    3         A.    Uh-huh.

    4         Q.    And was this money used to pay everybody their

    5 back pay?

    6         A.    It was used to pay current employees.

    7         Q.    Okay.     So no former employees would've been

    8 paid with these funds?

    9         A.    Correct.

   10         Q.    At the time in September of '22, do you recall

   11 how many employees -- current employees you had?

   12         A.    I'm sorry, you cut out on the month.

   13         Q.    In September of '22, do you recall how many

   14 current employees you had?

   15         A.    I think it was 18 or 20.

   16         Q.    Why were the funds not used to pay former

   17 employees who had back wages owed to them?

   18         A.    That was the decision made by the executive

   19 leadership.

   20         Q.    Which would've been Lance and Phil; is that

   21 right?

   22         A.    Correct.

   23         Q.    Were you involved in the discussion to not pay

   24 former employees?

   25         A.    I was told that that's what the -- that's what
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page27
                                                            Page2727
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1237
                                                                                 1498

    1 we were going to do.         I was told that current employees

    2 were the first priority and if they could do anything

    3 additional, then they would.

    4         Q.    And who told you these things?

    5         A.    Bill and Lance.

    6         Q.    Okay.     Other than payroll, do you know if the

    7 money was used to pay for anything else?

    8         A.    I -- not that I could answer with knowledge.

    9         Q.    Okay.

   10         A.    With accurate knowledge.

   11              MR. WOOD:    So we're going to mark this one as

   12        Plaintiff's 1.

   13               (EXHIBIT 1 MARKED FOR IDENTIFICATION)

   14              MR. WOOD:    And I'll move on to another.           This

   15        will be Plaintiff's 2.

   16               (EXHIBIT 2 MARKED FOR IDENTIFICATION)

   17               BY MR. WOOD:

   18         Q.    This is -- it appears an e-mail from September

   19 27 of '22 from you to a Ms. Penny Roberge.              Take a

   20 second to review it and let me know if you recognize

   21 this document.

   22         A.    Uh-huh.    I do.

   23         Q.    Okay.     And the first page is the e-mail, the

   24 second page appears to be evidence of a wire transfer

   25 for $500 that I believe was included on the e-mail.                 Do
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page28
                                                            Page2828
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1238
                                                                                 1499

    1 you recall sending this e-mail to Ms. Roberge?

    2         A.    Yes.

    3         Q.    And what was the purpose of this e-mail?

    4         A.    Everyone received a $500 bonus to assist with

    5 preparing for the hurricane that was coming at that

    6 point in time.

    7         Q.    And this went to current employees, right?

    8         A.    Correct.

    9         Q.    And the funds we had just talked about in the

   10 September 16th e-mail, were those funds used to pay for

   11 these bonuses?

   12         A.    I don't know.

   13         Q.    Okay.     You state here -- you state here that,

   14 "I ask that you remain judicious in discussing this as

   15 we are limited in our availability for distribution of

   16 this bonus."         What was the reason you relayed this to

   17 Ms. Roberge?

   18         A.    I was -- I was told to make sure that -- that

   19 we just keep the information within the current

   20 employees.

   21         Q.    Okay.

   22         A.    And that was how the sentence was crafted for

   23 me to deliver.

   24         Q.    Okay.     Did you put together that sentence or

   25 did someone else help draft it?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page29
                                                            Page2929
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1239
                                                                                 1500

    1         A.    Bill and Lance reviewed it, I don't know

    2 specifically who wrote it.          I might have -- I -- what I

    3 would do is I would write a letter, I would send it to

    4 them, they would edit it how they felt appropriate, and

    5 then I would send out their edited version.

    6         Q.    Okay.    So I won't say all of your e-mails, but

    7 most of the e-mails when you're communicating with the

    8 employees, would they be reviewed and approved by Lance?

    9         A.    Yes.    Anything pertaining to something like

   10 this or a message from Lance were always approved by

   11 him.

   12         Q.    Okay.    So the September 16 e-mail, the

   13 Plaintiffs 1, was that reviewed and approved by Lance? I

   14 can go back to it if you need to look at it.

   15         A.    I just want to see what the topic is, but I

   16 believe I -- I believe the answer is yes.

   17         Q.    Sure.    And I'm showing you the first document.

   18         A.    Yeah.    Yeah.   That I would've -- I would've

   19 done a draft based on bullets or -- or things he asked

   20 me to make sure were highlighted in it.             Done a draft,

   21 sent it to him, and then he and Phil reviewed it, and

   22 then sent me back any notes they had.

   23         Q.    Okay.    So can you tell me Mr. Friedman's

   24 involvement in or with the Emerge companies?              How

   25 involved was he?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page30
                                                            Page3030
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1240
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    1              MR. HENDERSON:      Objection.    Form.

    2         A.    I don't understand what you're asking.

    3               BY MR. WOOD:

    4         Q.    Okay.     On a -- on a typical day, what would be

    5 Mr. Friedman's role within the company?             What would he

    6 do?

    7              MR. HENDERSON:      Objection.    Form.

    8         A.    As a CEO, he was the ultimate decision maker

    9 of the company.         His primary responsibilities were --

   10 were bringing in capital to the company, investors and

   11 fundraising.         But then he would also be a final decision

   12 maker.

   13               BY MR. WOOD:

   14         Q.    Okay.     When an employee was terminated, and

   15 this might depend on what class of employee, but was he

   16 involved in the decision-making to terminate the

   17 employee?

   18         A.    Yes.

   19         Q.    When the employees were informed of the

   20 decision, who would communicate that to the employees?

   21         A.    You mean they're -- if they're being

   22 terminated?

   23         Q.    If they're being fired, who tells them?

   24         A.    It would -- it could be one of a few different

   25 people.      It could be me; it could be Ruby and me, it was
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page31
                                                            Page3131
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1241
                                                                                 1502

    1 -- there was never just one of us delivering the

    2 message.      If it was someone who had a direct leadership

    3 string, then that leader would inform them, and either

    4 Ruby or I would sit in the room with them and bear

    5 witness.      That was the protocol.

    6         Q.    Okay.    As part of his role in getting the

    7 investors, do you know what Lance would do?

    8         A.    I just know that he had contacts.          He worked

    9 with various people to bring investors to the table, and

   10 sales and negotiation are his strength.

   11         Q.    Okay.    And would he travel to meet these

   12 people?

   13         A.    At times, yes.

   14         Q.    Do you know if he would travel outside the

   15 state of Florida to meet these people?

   16         A.    My understanding is yes.

   17         Q.    And as part of his role in communicating with

   18 these investors or potential investors, is it safe to

   19 say he spoke with them on the phone?

   20         A.    Yes.

   21         Q.    And do you know if he would speak to these

   22 people that were located outside the state of Florida?

   23         A.    I -- I would have to say yes.

   24         Q.    Okay.    Can you think of a specific person

   25 that's -- was outside the state of Florida that you're
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page32
                                                            Page3232
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1242
                                                                                 1503

    1 -- that you're thinking of?          An investor, or person, or

    2 company?

    3         A.    I believe the majority of our investors were

    4 outside of the state of Florida.

    5         Q.    Okay.    And do you know where the funds in that

    6 September 16th e-mail, that you referenced in the e-

    7 mail, do you know where they came from?

    8         A.    I can't remember off the top of my head, no.

    9         Q.    Okay.    There were issues with the company.

   10 And do you recall where offices were moved from one

   11 location to another?

   12         A.    Yes.

   13         Q.    And who was responsible for those operational

   14 decisions of moving a unit or employees from one

   15 location to another location?

   16         A.    Ultimately, Lance.       The decision was discussed

   17 with the leadership team, but Lance made the ultimate

   18 decision.

   19         Q.    Okay.    And the space that these employees

   20 worked at, was it leased from another entity, a non-

   21 Emerge entity?

   22         A.    Just so you know, you just froze.          So I think

   23 I missed part of that question.

   24         Q.    Okay.    So I hope that I'm clear now.         How many

   25 offices did Emerge have, how many different locations,
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page33
                                                            Page3333
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1243
                                                                                 1504

    1 do you know?

    2         A.    At what point in time?

    3         Q.    2021.

    4         A.    Hold on a second, I'm counting in my head.            I

    5 believe six.

    6         Q.    Okay.    Were any of those on, I think it's

    7 Bulldog Ave -- Avenue, the Bulldog location?

    8         A.    Not in 2021.

    9         Q.    Okay.    So in 2022 operations did move to that

   10 location; is that right?

   11         A.    Yes.

   12         Q.    And the office space, was that leased from

   13 another entity?        Do you know?

   14         A.    Yes.

   15         Q.    Who was the landlord?

   16         A.    Of which building?       Of which office?

   17         Q.    The I'm still talking about the Bulldog, I'm

   18 not sure if there's multiple buildings in there.

   19         A.    Okay.    So 95 Bulldog, which is where currently

   20 the corporate -- where at that point in time I should

   21 say, the corporate office sat.           It was Sheridan

   22 Professional Center.

   23         Q.    Okay.    And who was responsible for obtaining

   24 that lease?

   25         A.    Lance.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page34
                                                            Page3434
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1244
                                                                                 1505

    1         Q.    Okay.     Previously there was space rented from

    2 Marina Towers, which was an Emerge company, right?

    3         A.    I -- I don't know.       Can you rephrase your

    4 question because I'm not sure what you're asking me, I'm

    5 sorry.

    6         Q.    Maybe.     The building on US 1 on the water,

    7 that's where Marina Towers was located, right?

    8         A.    Yes.     That building was Marina Towers.

    9         Q.    Okay.     And there were offices within that

   10 building, right?

   11         A.    Correct.

   12         Q.    Did any Emerge entities have ownership in that

   13 building?

   14         A.    Emerge?     No.   I mean, well, ownership?       No, we

   15 -- we rented.

   16         Q.    Okay.     So was -- did Marina Towers -- did they

   17 lease the space and then they sublet to the Emerge or

   18 First Choice entities?

   19         A.    I know the First Choice entities rented space

   20 in the building.         I can't recall the structure of that,

   21 but I can -- I -- I recall that FCMG and FCHS rented

   22 space in that building.

   23         Q.    Okay.     And do you know who made the decision

   24 to leave that building?

   25         A.    That would've been Lance.        Ultimately, yes.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page35
                                                            Page3535
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1245
                                                                                 1506

    1         Q.    Okay.    And the decision to transition

    2 employees from FCID to FCMG Medical Group, would that

    3 have also been ultimately Lance's decision?

    4         A.    Yes.

    5         Q.    Did he have -- did Lance also have control

    6 over the financials of the companies?

    7              MR. HENDERSON:      Objection.    Form.

    8         A.    And what do you mean by control?

    9               BY MR. WOOD:

   10         Q.    Well, did he have the authority to sign

   11 checks?

   12         A.    Yes.

   13         Q.    And did he have the authority to bind the

   14 company in financial decisions?

   15              MR. HENDERSON:      Objection.    Form.

   16         A.    Yes.

   17               BY MR. WOOD:

   18         Q.    Do you know if he took out any loans on behalf

   19 of any of the companies?

   20         A.    To the best of my knowledge, he did.

   21         Q.    Okay.    Were you ever involved in any of the

   22 agreements between any of the Emerge companies and any

   23 of these investors?

   24         A.    I would assist Lance in drafting them, and e-

   25 mailing them, or DocuSigning them to the investors.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page36
                                                            Page3636
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1246
                                                                                 1507

    1         Q.    Okay.

    2         A.    I was not part of the decision-making on it, I

    3 only acted as admin.

    4         Q.    Okay.    And those agreements between the

    5 investors and Emerge, they would be between the Emerge

    6 one of the entities and this investor directly, correct?

    7         A.    The -- the investors were not -- it was not

    8 Emerge.      It was First Choice Healthcare Solutions.

    9         Q.    Okay.

   10         A.    So I don't want to misspeak on that.

   11         Q.    So -- and it is a bit difficult because the

   12 company obviously transitioned from First Choice

   13 Healthcare Solutions Medical Group, whatever.               And at

   14 some point decided to rebrand as Emerge, Emerge

   15 Healthcare Group sometime after the bankruptcy

   16 proceeding, right?

   17         A.    Correct.    It's -- it's only FCMG that's doing

   18 business as Emerge.         The other companies are not Emerge.

   19         Q.    Now FCID, they transitioned all of their

   20 employees to FCMG in April, right?

   21         A.    Correct.

   22         Q.    Do you know if FCID is doing anything right

   23 now?

   24         A.    It has no employees, but I know it's an

   25 existing company.        It still exists.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page37
                                                            Page3737
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1247
                                                                                 1508

    1         Q.    Do you know what it does right now?

    2         A.    I don't know.

    3         Q.    Okay.    And I just want to go through the

    4 entity.      So Emerge Healthcare Group, LLC, are you

    5 familiar with that entity?

    6         A.    The -- yes.

    7         Q.    And it seems as though that it's been treated

    8 as a DBA, is that fair to say?

    9         A.    Correct.    That is correct.

   10         Q.    Okay.    So First Choice Medical Group of

   11 Brevard, LLC does business as Emerge Healthcare Group,

   12 LLC, right?

   13         A.    Correct.

   14         Q.    First Choice Healthcare Solutions Incorporated

   15 is the parent corporation, correct?

   16         A.    Correct.

   17         Q.    And at least previously they've been publicly

   18 traded, a publicly traded stock, right?

   19         A.    Yes.

   20         Q.    Okay.

   21         A.    Correct.

   22         Q.    Other than being a DBA, do you know if Emerge

   23 Healthcare Group, LLC does anything?

   24         A.    No.

   25         Q.    Okay.    So sitting here today, the operations
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page38
                                                            Page3838
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1248
                                                                                 1509

    1 of the -- of Emerge are done under First Choice Medical

    2 Group of Brevard, LLC, right?

    3         A.    Yes.    To the best of my knowledge, yes.

    4         Q.    And that is a subsidiary of First Choice

    5 Healthcare Solutions Incorporated?

    6         A.    Correct.

    7         Q.    Okay.    Are there any other entities that are

    8 operating under First Choice Healthcare Solutions

    9 Incorporated to the parent?

   10         A.    No.

   11         Q.    And of all of these entities that we've talked

   12 about, Mr. Friedman is the CEO or managing member; is

   13 that right?

   14         A.    Both of them, yes.

   15         Q.    And he's the ultimate decision maker for any

   16 of the entities?

   17              MR. HENDERSON:      Objection to form.

   18         A.    Correct.

   19               BY MR. WOOD:

   20         Q.    Okay.    So let's transition to the employees

   21 that worked there.        I -- there was admin, you said, and

   22 then medical, and those are treated separately is --

   23         A.    Correct.

   24         Q.    Now, when they merged, when all of the admin

   25 merged into FCMG, other than the transition from one
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page39
                                                            Page3939
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1249
                                                                                 1510

    1 entity writing the paychecks to another, was there any

    2 other change?

    3         A.    No.

    4         Q.    Okay.    The employees that worked, and I'm

    5 going to -- I -- I'm going to call it Emerge, that's

    6 what I've been calling.          It -- I guess it truly is,

    7 we're talking about '21 and '22 and sometimes in '23,

    8 there was somewhat of a transition from First Choice to

    9 Emerge. But I hope when I say Emerge, you understand I'm

   10 meaning this company, this business operation, okay?

   11         A.    Sure.

   12         Q.    The employees that worked there, they used

   13 computers; is that fair to say?

   14         A.    Yes.

   15         Q.    And e-mails, they sent e-mails?

   16         A.    Yes.

   17         Q.    Would each employee have their own e-mail

   18 address?

   19         A.    Yes, they did.

   20         Q.    And those e-mails would be sent both within

   21 the company and outside of the companies?

   22         A.    They had the ability to.

   23         Q.    Okay.    The company ran a medical practice, and

   24 as part of running a medical practice, you are receiving

   25 funds for your services, right?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page40
                                                            Page4040
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1250
                                                                                 1511

    1         A.    Yes.

    2         Q.    Ideally.

    3         A.    Ideally, yes.

    4         Q.    Typically, healthcare is either paid by the

    5 patient directly through their insurer, maybe through a

    6 government entity.        The employ -- the patients that you

    7 would see, do you know if they were ever from out of

    8 state?

    9         A.    I -- I -- I don't know.

   10         Q.    Okay.

   11         A.    I can't speak to that on the medical side.

   12         Q.    The payers, so we're talking about healthcare

   13 companies and maybe Medicaid, Medicare or other, I think

   14 veterans benefits also.          The healthcare companies, what

   15 healthcare companies would you or would Emerge accept?

   16         A.    I don't recall all of them.

   17         Q.    Okay.

   18         A.    But it was -- it was all of the major -- major

   19 companies.      And I don't recall because it -- it wasn't

   20 that part of my role to deal with them on a day-to-day

   21 basis.

   22         Q.    Okay.

   23         A.    I just know from collateral I put together

   24 that it was at least 40 of them.

   25         Q.    Okay.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page41
                                                            Page4141
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1251
                                                                                 1512

    1         A.    That's the minimum.

    2         Q.    Do you know if any of those insurance

    3 companies are outside of the state of Florida?

    4         A.    I don't.    I -- I don't know.

    5         Q.    Would Emerge accept Medicare or Medicaid?

    6         A.    I always get them mixed up.         Yes.

    7         Q.    Okay.

    8         A.    In 2021, we started accepting Medicaid.

    9 Again, I didn't deal with it on a regular basis, I just

   10 remember conversations about it.

   11         Q.    Sure.    Are you familiar with a patient portal

   12 through I think Athena Health?

   13         A.    Yes.

   14         Q.    Have you ever used that yourself?

   15         A.    When I was a patient, yes.

   16         Q.    Okay.    And can you describe what that is?

   17         A.    It is a -- a place where patients or

   18 prospective patients, like someone with an appointment

   19 can go in, sign in, do their paperwork in advance of

   20 coming into the clinic.          They can then come back to it

   21 at -- at different points in time, and I believe

   22 reference their medical information.

   23         Q.    Okay.

   24         A.    I've never done that myself, but I believe

   25 that is the purpose of it.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page42
                                                            Page4242
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1252
                                                                                 1513

    1         Q.    So typically when you walk into a doctor's

    2 office, they give you a bunch of forms to fill out and

    3 you sit down with a clipboard, put all your information

    4 in there.      The patient portal would allow you to

    5 electronically do that ahead of time and upload it over

    6 the internet to the provider before your appointment; is

    7 that fair to say?

    8         A.    In theory, yes.

    9         Q.    Okay.    Did Emerge accept credit cards as a

   10 form of payment?

   11         A.    Yes.

   12         Q.    And I'm assuming all major credit cards would

   13 be accepted?

   14         A.    MasterCard, Visa, I don't believe we took

   15 American Express and Discover, just because I don't ever

   16 recall seeing anything about them.

   17         Q.    Okay.    As part of dealing with billing, do you

   18 know if any of the employees of Emerge would need to

   19 call up insurance companies?

   20         A.    The -- I did not have a lot of purview to the

   21 billing team, so I -- I don't know that I can answer

   22 that --

   23         Q.    Okay.

   24         A.    -- with knowledge.

   25         Q.    Who was the billing team; do you remember?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page43
                                                            Page4343
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1253
                                                                                 1514

    1         A.    Do you mean specifics or who did they report

    2 to?

    3         Q.    I guess let's start at the top and then try to

    4 work our way down.         Who -- who's the head of the billing

    5 team?

    6         A.    The billing team reported to our director of

    7 finance, and I would help with any HR or -- or, you

    8 know, soft skill needs.          Anything pertaining to their

    9 job went through him.         And then we had, depending on

   10 what year you're talking about, we had anywhere from

   11 eight to two people doing billing.

   12         Q.    Okay.     When you say director of finance, are

   13 you referring to Phil?

   14         A.    No.

   15         Q.    Okay.     Who is the director of finance?

   16         A.    Scott Friedman.

   17         Q.    Any relation to Lance Friedman?

   18         A.    Yes.

   19         Q.    Is it a brother?

   20         A.    It is brother.

   21         Q.    Okay.     Do you know if he still works there?

   22         A.    He is a 1099 employee.

   23         Q.    Have --

   24         A.    But I don't -- I don't know how much work he's

   25 doing.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page44
                                                            Page4444
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1254
                                                                                 1515

    1         Q.    Have all employees of FCMG been transitioned

    2 from W2 to 1099?

    3         A.    There are still two employees of the company,

    4 everyone else has been transitioned.

    5         Q.    Okay.    I -- and you broke up a bit.         I think

    6 you're still freezing.         I'm going to wait until you come

    7 back.

    8         A.    Can you hear me now?

    9         Q.    Yes.    Okay.   So I think you might be frozen

   10 again.       You said there's two employees.         Who are those

   11 two employees?

   12              MR. WOOD:    We're frozen.        We're at an hour.      I

   13        mean, I don't know if she can hear me or not, but

   14        why don't we take a -- take a break?           Maybe have her

   15        log out and come back in.

   16              THE REPORTER:     Okay.

   17              MR. HENDERSON:       Okay.

   18              MR. WOOD:    Okay.

   19              MR. HENDERSON:       All right.

   20               BY MR. WOOD:

   21         Q.    Basically, we are going to take a -- well, let

   22 me ask you the question before we go.              So I don't

   23 forget.      You said there was two employees still.            Who

   24 are they?

   25         A.    The two employees of the company are Lance and
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page45
                                                            Page4545
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1255
                                                                                 1516

    1 Phil.

    2                MR. WOOD:     Okay.     So we are going to go on a

    3        break, maybe log out and log back in.

    4                THE WITNESS:     Okay.

    5                MR. WOOD:     Because you keep on breaking up.         So

    6        I'm showing 10:56.        Let's come back at 11:05.

    7                MR. HENDERSON:        All right.    That works.

    8                MR. WOOD:     Okay.

    9                THE WITNESS:     All right, thank you.

   10                MR. WOOD:     All right, thanks.

   11                 (OFF THE RECORD)

   12                THE REPORTER:     All right.       We're back on the

   13        record.     Go ahead.

   14                 BY MR. WOOD:

   15         Q.      All right.     Ms. Lee, we are back, you're still

   16 under oath.        We were going over some items with

   17 pertaining to the employees of Emerge Group, all of

   18 them.        We had just talked about the transition of

   19 employees to 1099s.           Before we went on break, you

   20 indicated that the only two employees left are the CEO,

   21 Lance Friedman, and the CFO, Phil Keller; is that right?

   22         A.      That is correct.

   23         Q.      Okay.   Now, other employees in the '21 to say

   24 January '23 time frame, before everyone transitioned to

   25 1099.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page46
                                                            Page4646
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1256
                                                                                 1517

    1         A.    Okay.

    2         Q.    Do you know who would be in charge of ordering

    3 supplies for the business?

    4         A.    (audio cuts out)

    5         Q.    You are breaking --

    6         A.    People had different responsibilities.           So --

    7 sorry about that.        Am I still frozen?

    8         Q.    You're coming back.

    9         A.    Okay.    Sorry.    That's -- it's strange.       I'm in

   10 an office and we've got good Wi-Fi, so it's odd. (audio

   11 cuts out)

   12         Q.    Okay.    And you're gone.

   13         A.    So I'm sorry, your question was about

   14 supplies?

   15         Q.    My question was who was in charge of ordering

   16 supplies for the business -- medical supplies, any type

   17 of supplies.

   18         A.    There were different people with different

   19 responsibilities.        So I did some supply ordering.          Ruby

   20 -- Ruby Rosado would order supplies.             In the   (audio

   21 cuts out) we had an -- a few people who were also

   22 responsible.

   23         Q.    Okay.    So you broke up a bit.       I did hear you

   24 did some ordering and Ruby did some ordering, and then

   25 you broke up.         But let's talk about what ordering you
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page47
                                                            Page4747
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1257
                                                                                 1518

    1 did.     What kind of ordering did you do?

    2         A.    Okay.    Primarily administrative supplies, you

    3 know, things you would need for day-to-day operations in

    4 an office.

    5         Q.    And where would you order these things?

    6         A.    We had -- we ordered from Amazon, and there

    7 might have been other vendors, but for something like

    8 office supplies, it was predominantly Amazon.

    9 Occasionally -- yeah, I would say from there,

   10 predominantly.

   11         Q.    Okay.    Now, are you familiar with Henry

   12 Schein?

   13         A.    I'm familiar with the company, yes.

   14         Q.    Okay.    And do you know if employees would do

   15 ordering through Henry Schein?

   16         A.    Yes.

   17         Q.    And those would be medical supplies, right?

   18         A.    Correct.

   19         Q.    Who would be primarily in charge of getting

   20 things from Henry Schein?

   21         A.    In that -- in the period of time from January

   22 of '21 through the end of '22 --

   23         Q.    Sure.

   24         A.    -- it would vary.      But Ruby, again, a couple

   25 of people in the -- in the clinic possibly had access.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page48
                                                            Page4848
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1258
                                                                                 1519

    1 I did not have access.          I did not order from Henry

    2 Schein.

    3         Q.      Okay.

    4         A.      The -- the person who was operations over the

    5 clinic would have had access.

    6         Q.      Okay.   Are you familiar with any other

    7 supplier companies that you, or that Emerge would use to

    8 obtain supplies for the business?

    9         A.      Nothing I -- no one I recall off the top of my

   10 head.        And again, I wasn't involved in the medical

   11 supply ordering, so --

   12         Q.      Sure.

   13         A.      -- I'm sure there's companies there I do not

   14 know about.

   15         Q.      And I'm just asking what you're aware of, so

   16 that's fine.

   17         A.      Yeah.

   18                MR. WOOD:   I'm trying to pull the documents to

   19        review real quick.       And I'll share my screen.        We'll

   20        mark this as Plaintiff's 3.

   21                 (EXHIBIT 3 MARKED FOR IDENTIFICATION)

   22                 BY MR. WOOD:

   23         Q.      This is a Florida Blue employer application

   24 for health insurance.          This was for '21, and I believe

   25 it was to go through July of '22.            So it's seven pages.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page49
                                                            Page4949
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1259
                                                                                 1520

    1 I can go to the first -- I can go through all of it if

    2 you want.

    3         A.    Nope.    I -- I can see that's the application.

    4 Okay.

    5         Q.    Okay.    So you're familiar with this document?

    6         A.    I'm -- I am not, but I have -- I heard about

    7 the application, but I was not part of completing it.

    8         Q.    Okay.    And it looks like it was signed by

    9 Julie Hardesty.        That's the controller, right?

   10         A.    Correct.

   11         Q.    Okay.    And -- okay.     Do you know what this

   12 application was for?         I can blow it up a little bit, if

   13 you want.

   14         A.    I would -- I would say for a health insurance

   15 plan for the company through Florida Blue.

   16         Q.    For the employees, right?

   17         A.    Correct.

   18         Q.    Now, this was -- this specific plan was to run

   19 through July of '22; is that right?

   20         A.    That is what you have said.         Based on it,

   21 again, I don't know.

   22         Q.    Okay.    Are you familiar with a Florida Blue

   23 plan that was provided to employees that ended sooner

   24 than its end -- anticipated end date?

   25         A.    I am aware that happened, yes.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page50
                                                            Page5050
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1260
                                                                                 1521

    1         Q.    Okay.    And that happened in 2021; am I right?

    2         A.    Yes, as I recall.

    3         Q.    And I think it was November of 2021 is when

    4 the issues began to happen?

    5         A.    Yes.    I believe it was November 30th is the

    6 date that I kept hearing.

    7         Q.    I -- that's what I have in my notes, so we'll

    8 go with that.         Do you know why it was canceled?

    9         A.    Again, I -- I don't.       Lack of payment, but I

   10 never received any of those notifications.

   11         Q.    Okay.    Now, employees had deductions from

   12 their paychecks to pay their portion of the premiums for

   13 this plan, correct?

   14         A.    Correct.

   15         Q.    And after November 30th of '21, are you aware

   16 of whether or not the deductions from the paychecks

   17 stopped or continued to be deducted from the paychecks?

   18         A.    They continued to be deducted from the

   19 paychecks.

   20         Q.    Okay.    Do you know why they continued to be

   21 deducted if the plan had stopped or been canceled?

   22         A.    What we were told is, our lawyers were

   23 negotiating with Florida Blue to get us reinstated.

   24         Q.    Okay.    Now, at that time, the -- in November

   25 30 of 2021, the policy was canceled.             You said there was
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page51
                                                            Page5151
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1261
                                                                                 1522

    1 negotiations.         But at the time the employees did not

    2 have health insurance coverage; is that fair to say?

    3         A.    I -- yeah, I would believe so.          And I was part

    4 of those people.

    5         Q.    Okay.    So you also lost insurance during this

    6 time frame?

    7         A.    Yes, sir.

    8         Q.    Are you familiar with COBRA, and COBRA

    9 notices?

   10         A.    I am -- I am familiar with how COBRA works.

   11         Q.    Okay.    And I -- how did it work at Emerge in

   12 this time frame, '21, '22, '23?

   13              MR. HENDERSON:      Objection to form.

   14         A.    It worked in the -- in the standard format

   15 that COBRA works.         When an employee left the company,

   16 they -- they would have an option to sign on to COBRA.

   17 That documentation was not provided by us, that was

   18 provided by COBRA.         We just provided them with the

   19 information that they would be being reached out to.

   20 And then they could choose from that point forward if

   21 they participated or not.

   22               BY MR. WOOD:

   23         Q.    Okay.    Now, is it your understanding that

   24 COBRA applies when an employee leaves the entity?

   25         A.    Yes.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page52
                                                            Page5252
                                                                  ofof90
                                                                       90PageID
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                                                                                 1523

    1         Q.    Do you know if it applies when an employee

    2 loses healthcare coverage?

    3         A.    I do not know.

    4         Q.    Okay.     In November -- on -- well, after the

    5 November 30th cancellation, do you know if any employees

    6 received COBRA notice at that time?

    7         A.    Not unless they would -- not unless they left

    8 the company.

    9         Q.    Okay.     Who was in charge of providing notice

   10 on behalf of the company?

   11         A.    For COBRA?

   12         Q.    Yes.

   13         A.    So the -- when the employee left the company,

   14 they would have been informed that COBRA was available

   15 to them.      And then the company that we dealt with at the

   16 time, which I believe was TASC, T-A-S-C, would send them

   17 information.         And after that, once I verbalized that to

   18 them, it was up to TASC to -- to work with them.

   19              MR. WOOD:     Okay.   Off record.

   20               (OFF THE RECORD)

   21               BY MR. WOOD:

   22         Q.    Okay.     Back from a brief technical break to

   23 get you on the phone.         Let's -- I'm going to share my

   24 screen again in just a second.           Okay.    Okay.   So this is

   25 an e- mail, it's in the Outlook format.             And this is not
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page53
                                                            Page5353
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1263
                                                                                 1524

    1 an e- mail that you sent, this is an e-mail that you

    2 were CC'd on.           Do you recognize this e-mail?

    3         A.      Yes.

    4         Q.      Okay.     So this is an e-mail from Julie

    5 Hardesty.        It says, "See attached, per our

    6 conversation."           And it says -- the document is an Excel

    7 spreadsheet.           It's, "2022 employee insurance refunds

    8 due."        Do you remember getting this e-mail?

    9         A.      I don't specifically remember it, but I

   10 remember there was a -- I remember a document being put

   11 together, yes.

   12         Q.      Okay.     The e-mail looks like it's dated April

   13 of 2023, so just a few months ago.            Do you --

   14         A.      I -- again, I -- I -- I'm on there --

   15         Q.      Yeah.

   16         A.      -- so I -- but do I remember specifically?

   17 I'm not going to say yes, because I -- I don't.               But I

   18 know --

   19         Q.      Okay.

   20         A.      -- I know I received it.

   21         Q.      Now, the e-mail is Julie to Phil and you.          It

   22 says, "Per our conversation."           Do you recall having a

   23 conversation with Julie and Phil about insurance refunds

   24 to the employees?

   25         A.      Yes.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page54
                                                            Page5454
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1264
                                                                                 1525

    1         Q.    And was that a recent conversation within the

    2 last six, seven months?

    3         A.    I know we have discussed it a -- a couple of

    4 different times.         I can't give you specific dates.          So I

    5 would imagine this is in reference to one of the times

    6 we discussed it.

    7         Q.    Okay.     And I'm going to open up the

    8 attachment, I hope.         There it -- no, that's not it.

    9 That's not it. Where is it?          Here, this is it.       All

   10 right.       This is the attachment, "2022 employee insurance

   11 refunds due."         Do you recall going through the

   12 spreadsheet at all?

   13         A.    I'm familiar with the spreadsheet.

   14         Q.    Okay.     What was -- what is this spreadsheet?

   15         A.    It's a spreadsheet of current insurance

   16 premiums that are due to employees that paid in to that

   17 the intention of the company is to reimburse them for.

   18         Q.    Okay.     And it looks -- there's different tabs

   19 on here, FCHS, that's First Choice Healthcare Solutions.

   20 You're -- actually you're on there.

   21         A.    Uh-huh.

   22         Q.    FCID is also listed.       FCMG is listed.      Do you

   23 know what this -- is it QuickBooks?            It says QB PR

   24 detail at the bottom.

   25         A.    That's payroll.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page55
                                                            Page5555
                                                                  ofof90
                                                                       90PageID
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                                                                                 1526

    1         Q.    Okay.

    2         A.    QuickBooks Payroll Detail.

    3         Q.    So QuickBooks Payroll Detail.         And then we

    4 also have Florida Blue and United.            Starting with the

    5 United tab, do you know what this tab is telling us?

    6         A.    This would be premiums from UnitedHealthcare.

    7         Q.    And these were --

    8         A.    I don't know.

    9         Q.    -- what was due, right?

   10         A.    I'm -- I -- I -- that is not a question for

   11 me.

   12         Q.    It's a question for Julie?

   13         A.    Yeah.

   14         Q.    Okay.    And then this is Florida Blue.         Do you

   15 know what this is telling us?

   16         A.    It would be the same thing.         This looks like

   17 her tracking of statements that were received.

   18         Q.    Okay.    So it looks like this is saying Florida

   19 Blue is owed 103, if I'm reading this correctly.

   20         A.    Okay.

   21         Q.    103,000.    Okay.    And then then the

   22 reimbursements, this is, I'm assuming what the three of

   23 you discussed about calculating the amounts that are

   24 owed to employees for the insurance that they didn't

   25 get; is that right?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page56
                                                            Page5656
                                                                  ofof90
                                                                       90PageID
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    1         A.    Yes.    Sorry, I just had to think about what

    2 you just said.        Yes.

    3         Q.    Yeah.    And it looks like it's broken up with

    4 active employee refunds.          And then there's another

    5 column says, "Total insurance refunds due."              So it looks

    6 like you took the -- what everyone's owed and then what

    7 active employees are owed; is that fair to say?

    8         A.    That's how it appears, yes.

    9         Q.    Okay.    Were you involved in this calculation,

   10 or was this something that Julie put together that you,

   11 Julie, and Phil discussed?

   12         A.    Julie put this together because she is the

   13 controller.       That's part of her job.

   14         Q.    Okay.    Do you know if you had a discussion

   15 about claims that would have been made by these

   16 employees during the time frame, whether or not the

   17 companies would reimburse for those claims as opposed to

   18 just the deductions from payroll?

   19              MR. HENDERSON:      Objection.    Form.

   20         A.    When we had discussions about this, it was a

   21 -- always a general thing.          I can't say that we -- we

   22 ever specifically focused on if there were claims made

   23 or not.

   24               BY MR. WOOD:

   25         Q.    Okay.    Was Lance included in this discussion
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page57
                                                            Page5757
                                                                  ofof90
                                                                       90PageID
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    1 at all?

    2         A.     Lance has been part of these discussions.

    3         Q.     Okay.    He just wasn't part of this e-mail, but

    4 he was still part of the overall discussion of refunding

    5 the insurance to the employees?

    6         A.     Correct.

    7               MR. WOOD:    Okay.       And I'll mark the e-mail and

    8        the spreadsheet.         I don't remember which number

    9        we're on.       Let me see if I can --

   10               THE REPORTER:       4.

   11               MR. WOOD:    4.     Okay.    So the e-mail and

   12        spreadsheet will be Plaintiff's 4.

   13                (EXHIBIT 4 MARKED FOR IDENTIFICATION)

   14               MR. WOOD:    This next document is an e-mail.         It

   15        says, "Group B8027 reinstatement."           That's

   16        Plaintiff's 5.

   17                (EXHIBIT 5 MARKED FOR IDENTIFICATION)

   18                BY MR. WOOD:

   19         Q.     And I'm sharing my screen with you so you can

   20 see the e-mail going down to the bottom.              Just seeing

   21 what you were included on.             It looks like you were not

   22 included on the first e-mail to Phil.              And then there's

   23 an e-mail from you on this chain.              And it looks like

   24 you've been included on the e-mails about this ever

   25 since.       Do you recognize this e-mail chain?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page58
                                                            Page5858
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    1         A.    I recognize the names.        I don't remember this

    2 particular e-mail, but I do recognize the names and the

    3 -- and the conversation, like the dialogue, the topic.

    4         Q.    Okay.    And this was in, it says March 10 on

    5 the top.      Going down to the bottom, the e-mail that you

    6 weren't on, it says -- this is to Phil.             It says, "Your

    7 group has been denied for reinstatement."              Can you

    8 explain what was happening in this -- in these e-mails?

    9         A.    Based on my response to Grace, we were

   10 directed to see what Grace and that team could do to

   11 assist us with reinstatement.

   12         Q.    And who's Grace?

   13         A.    Somebody who works with OneDigital.

   14         Q.    And who is OneDigital?

   15         A.    OneDigital was the group that was assisting us

   16 with healthcare insurance policies after TriNet, after

   17 we left TriNet.        Yes, after we left TriNet.

   18         Q.    Okay.    Do you know where OneDigital was

   19 located?

   20         A.    Not off the top of my head, no.

   21              MR. WOOD:    Okay.    I'm going to show you another

   22        e-mail dated March 24th, '22.         This is going to be

   23        Plaintiff's 6.

   24               (EXHIBIT 6 MARKED FOR IDENTIFICATION)

   25               BY MR. WOOD:
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page59
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                                                                                 1530

    1         Q.    This is an e-mail from you to Lance.

    2         A.    Uh-huh.

    3         Q.    Do you recognize this?

    4         A.    This would have been an example of a draft

    5 that I sent him.         To the best of my knowledge it's -- I

    6 don't remember the -- I don't remember the e-mail

    7 specifically, but obviously it's -- it's part -- it's --

    8 it's discussing our Florida Blue plan.

    9         Q.    And really that's what it appears to me.            It

   10 looks like you're sending an e-mail to him to review.

   11 And that's your recollection of this e-mail, too, right?

   12         A.    Correct.

   13         Q.    Do you know if it got revised or sent out?

   14         A.    I don't recall.

   15         Q.    Okay.     Do you know if Blue Cross Blue Shield

   16 actually reinstated the policy?

   17         A.    Blue Cross Blue Shield did not.          We had a

   18 legal team working with them.           And they were willing to

   19 reinstate us, but we had to come up with funding.

   20         Q.    And I think we're going to get to that next.

   21 There was a plan, I think it was like $25,000 a month.

   22 And the company was not able to do that; is that fair to

   23 say?

   24         A.    Correct.

   25              MR. WOOD:     Okay.   So that might be here in this
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page60
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    1        e-mail.    We're going to mark this Plaintiff's 7.

    2               (EXHIBIT 7 MARKED FOR IDENTIFICATION)

    3               BY MR. WOOD:

    4         Q.    And just updating my notes.         All right, so

    5 this is an e-mail from June of '22.            And I'm scrolling

    6 down. First e-mail is not including you.              It looks like

    7 an -- e-mails between attorneys.            This was then

    8 forwarded from Lance to you, Phil, Julie, Scott.               And it

    9 looks like it was relaying the terms of reinstatement of

   10 the Blue Cross Blue Shield plan.            Which down here,

   11 weekly payments of 25,000 until it's due, and then it'll

   12 be reinstated.        Do you remember getting this e-mail?

   13         A.    Not specifically.

   14         Q.    Okay.

   15         A.    But I know -- but I remember those -- I

   16 remember those terms, so --

   17         Q.    Okay.    And -- so you remember the terms and

   18 you're saying that Emerge was unable to fulfill those

   19 terms; is that right?

   20         A.    Correct.

   21         Q.    Do you know who made the final decision to not

   22 move forward with the reinstatement?

   23         A.    The decision was made by the fact that the --

   24 there was minimal income coming in from the providers

   25 performing at the clinic and we were pending investor
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page61
                                                            Page6161
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    1 funding.      Ultimately it would have been Lance who made

    2 the decision.         But it is -- but that was -- that was

    3 ultimately why, we didn't have any funding.

    4         Q.    You didn't have -- the company didn't have the

    5 money?

    6         A.    Correct.

    7         Q.    And Lance made the decision to not go further

    8 in debt, if even possible, because they would not be

    9 able to fulfill the terms of the reinstatement; is that

   10 right?

   11              MR. HENDERSON:      Objection.    Form.

   12              MR. WOOD:    Now she's dropped off.

   13         A.    I -- I don't -- am I gone.         I can still hear

   14 you.

   15               BY MR. WOOD:

   16         Q.    Yeah.    Yeah.   If you can get back onto --

   17         A.    Let me --

   18         Q.    -- the video, I --

   19         A.    Yep, it's connecting now.

   20         Q.    Okay.

   21         A.    I don't know why this is having so many

   22 problems.      I apologize. Normally we don't have this.

   23         Q.    You know, we can hear you now. We've got you,

   24 so that's good. We need to go over some documents,

   25 but --
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page62
                                                            Page6262
                                                                  ofof90
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    1               THE REPORTER:      Okay, I have the screen back, so

    2        I can let her back in for a second.

    3               MR. WOOD:    Okay.

    4               THE REPORTER:      If you don't mind.       Okay.     I

    5        think you have to let me back because you -- let me

    6        see.

    7               MR. WOOD:    Oh.     Sorry, you need me to stop

    8        sharing.

    9               THE REPORTER:      Yes.    I'm like, I'm trying to do

   10        it on my end, but it keeps telling me --

   11               MR. WOOD:    Sorry.

   12               THE REPORTER:      It's okay.   It doesn't show her

   13        in there.

   14               MR. WOOD:    There she is.

   15               THE REPORTER:      Oh, there we go.     Okay.       Now

   16        she's back.

   17               THE WITNESS:       Moving to maybe where there's a

   18        more stable connection, so excuse the background.

   19               MR. WOOD:    Okay.

   20               THE REPORTER:      No your fine.    Okay.

   21               MR. WOOD:    Okay.

   22               THE REPORTER:      Okay.   Go ahead.

   23               MR. WOOD:    All right.     I'm going to share my

   24        screen again.      We are on Plaintiff's 8, I think.

   25                (EXHIBIT 8 MARKED FOR IDENTIFICATION)
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page63
                                                            Page6363
                                                                  ofof90
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    1               BY MR. WOOD:

    2         Q.    And I'm showing you a document that's titled,

    3 "UnitedHealthcare Level Funded Plan Sponsor

    4 Application."         Do you -- it's 20 pages.      I won't go

    5 through all unless you want me to.            Do you recognize

    6 this?

    7         A.    I -- I can't say I recognize the application

    8 itself, but I -- I know we participated in it.

    9         Q.    Okay.     So this appears to me to be the

   10 application to initiate the UnitedHealthcare plan that

   11 went into effect in April of '22; is that right?

   12         A.    That would be the correct timing, yes.

   13         Q.    Okay.

   14         A.    I'm -- I'm going to close the door in the room

   15 I'm in. I will be right back on screen in just a moment.

   16         Q.    Okay.

   17         A.    But I can hear you.

   18         Q.    Okay.     Do you know what happened with this --

   19 with the UnitedHealthcare plan policy?

   20         A.    Can you be more specific?

   21         Q.    Do you know if it ever went into effect?

   22         A.    I believe it went into effect, but then the

   23 plan ended up ultimately getting canceled.              So I believe

   24 it took it back to the initiation date.

   25         Q.    Okay.     And I know there was issues with
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page64
                                                            Page6464
                                                                  ofof90
                                                                       90PageID
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    1 payments, so I think we'll probably cover that in a few

    2 e-mails here.         But I guess there's been some confusion,

    3 maybe on my end, on whether or not this was active for

    4 the month of April or not.          And I think you just said

    5 that, ultimately they went back to the very initiation

    6 and canceled everything.          Is that your memory of this?

    7         A.    That is my -- that is my understanding, yes.

    8         Q.    Okay.    And that was because they weren't paid,

    9 right?

   10         A.    Yes, sir.

   11              MR. WOOD:    Okay.    So going on to mark

   12        Plaintiff's 9.

   13               (EXHIBIT 9 MARKED FOR IDENTIFICATION)

   14               BY MR. WOOD:

   15         Q.    This is an e-mail chain.        I'm going to go to

   16 the bottom.

   17         A.    Okay.    Just so you know, I --

   18         Q.    You dropped out.

   19         A.    It looks like I dropped out again.

   20         Q.    Yeah.    So while we're getting you back.

   21         A.    There you go.

   22         Q.    There you are.

   23         A.    I'm back.

   24         Q.    The -- this is an e-mail from you on July 6th

   25 of '22 to Phil and Lance, CCing Julie.             Says, "Ruby just
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page65
                                                            Page6565
                                                                  ofof90
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    1 called me.      She was told at the clinic she has no UHC

    2 coverage, and it dates back to 4-30-22.             So what I saw

    3 this a.m. is accurate.         We need to do some type of

    4 messaging, so the team doesn't find out on their own,

    5 which is -- was the bigger problem when they found out

    6 about BCBS."       Do you remember sending this e-mail?

    7         A.    I remember the conversation.

    8         Q.    Okay.    So the e-mail or the conversation with

    9 Ruby, can you describe that a bit?

   10         A.    I don't remember Ruby's specific call, but I

   11 do know that, when she was at a medical appointment they

   12 said she didn't have her coverage.            So I told her we

   13 would check on it.        And then I believe I had received a

   14 notification in my mail, because I was also part of the

   15 healthcare plan.        I -- I don't -- I believe I received a

   16 notification in my mail saying that there was no

   17 coverage.

   18         Q.    Okay.

   19         A.    But that -- and that coincided with the timing

   20 of her appointment.

   21         Q.    Okay.    So when you -- when you said I -- what

   22 you saw this morning is accurate, you're referring to a

   23 letter that you received in the mail yourself?

   24         A.    Again, I -- I can't remember.         I know I

   25 ultimately received a letter that said that.              I cannot
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page66
                                                            Page6666
                                                                  ofof90
                                                                       90PageID
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    1 remember if somebody came to me and said, I received

    2 this, or if it was my own letter.            So I can't recall

    3 which way I found out.         But that is what it is

    4 referencing.       I had found out while she was at this

    5 doctor's appointment that that had happened.               And I had

    6 reported that to Julie and Phil and Lance.

    7         Q.    Okay.

    8         A.    That there was a concern.

    9         Q.    And I'm just seeing if you sent any of these

   10 other e-mails.        It looks like you were included.         But

   11 let's look at this one from Julie.            It says, "We paid

   12 the first 25k.        But they took 50k, so the whole amount

   13 was refunded, then returned again.            And now with the

   14 payments to Phil and Lance today, we do not even have

   15 the original 25k to pay April again.             We have

   16 essentially paid them nothing."           So were you involved in

   17 communications about the payment of these policies?

   18         A.    I -- I was not responsible for them, but I had

   19 heard that from Julie.         Exactly what she said transpired

   20 in this e-mail --

   21         Q.    Okay.

   22         A.    -- is what she had verbalized to me.

   23         Q.    So they made payments, but then it was

   24 refunded.      And so now they've essentially paid

   25 UnitedHealthcare $0; is that a fair summary?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page67
                                                            Page6767
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1277
                                                                                 1538

    1         A.    Yes.

    2         Q.    Okay.    Now there's a line here, it says, "Now

    3 with the payments to Phil and Lance today."              Do you know

    4 what she's referring to there?

    5         A.    Not specifically.

    6         Q.    Are you aware of any payments to Phil and

    7 Lance that would prevent the company from paying its

    8 debts to third party entities?

    9         A.    Nothing that would have prevented us from

   10 making payments to -- to them.           There were times we did

   11 expense reimbursement, but I don't know specifically

   12 what this references.

   13         Q.    Okay.    So I'm going to go back to your e-mail

   14 at the beginning.        You talk about messaging.        I guess

   15 you put your HR hat on at this point and said, "You need

   16 to tell the employees that they don't have coverage." Is

   17 that fair to say?

   18         A.    Yes.

   19         Q.    You want to make sure they don't find out on

   20 their own, and you say here that it was a bigger problem

   21 with the Blue Cross Blue Shield when they found out on

   22 their own; is that right?

   23         A.    The -- yes.     The employees found out about the

   24 Blue Cross Blue Shield coverage being canceled before

   25 the company had a chance to let them know there was an
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page68
                                                            Page6868
                                                                  ofof90
                                                                       90PageID
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    1 issue.

    2         Q.    Okay.    And at this time, do you know if any

    3 COBRA notices were mailed out to anyone?

    4         A.    They were not.

    5         Q.    Okay.    Sitting here today, do you know if

    6 anybody was covered in April under the United Healthcare

    7 plan?

    8         A.    I -- I don't know.

    9         Q.    Okay.

   10         A.    I -- I would not want to misspeak.

   11         Q.    Okay.    When you enter into these plans,

   12 there's typically plan documents.            Is that your

   13 understanding?

   14         A.    Yes.

   15         Q.    Would Emerge, or subsidiaries, whoever,

   16 maintain those plan documents somewhere?

   17         A.    Yes.

   18         Q.    And do you know if Emerge has the plan

   19 documents for the United Healthcare plan?

   20         A.    Those would be, I believe, in Julie's files,

   21 and I believe Ruby kept a copy of them in her files as

   22 well.

   23         Q.    Okay.    Are you --

   24         A.    I did not.

   25         Q.    Are you familiar with an employee, Emmaline
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page69
                                                            Page6969
                                                                  ofof90
                                                                       90PageID
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    1 Bonilla?

    2         A.    Yes.

    3         Q.    I -- our firm represents Ms. Bonilla also, and

    4 she went on leave in April of '22.            Are you familiar

    5 with her situation at that time?

    6         A.    Yes.

    7         Q.    And she had a brain surgery later on in that

    8 month, and her claims were denied for that surgery.                Was

    9 she not covered because Emerge didn't pay

   10 UnitedHealthcare for health coverage during that time

   11 frame?

   12              MR. HENDERSON:      Objection.    Form.

   13         A.    It would appear so.       I don't know

   14 specifically.

   15               BY MR. WOOD:

   16         Q.    My understanding is that she did not stop

   17 becoming an employee.         She wasn't fired or leave until

   18 well later in the year.          I think she went on some kind

   19 of a medical leave.         Is that your understanding of --

   20         A.    Correct.

   21         Q.    Okay.

   22         A.    Yes.    She was on a medical leave of absence.

   23         Q.    What is involved with a medical leave of

   24 absence?

   25              MR. HENDERSON:      Objection.    Form.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page70
                                                            Page7070
                                                                  ofof90
                                                                       90PageID
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                                                                                 1541

    1         A.    Can you clarify what you're asking me?

    2               BY MR. WOOD:

    3         Q.    Okay, so while she's on a medical leave of

    4 absence, does she receive a wage?

    5         A.    Okay.    No, if -- if an employee is on a -- and

    6 I'm speaking -- generally speaking.

    7         Q.    Yes.

    8         A.    If an employee goes on a medical leave of

    9 absence, if they have PTO, paid time off available, they

   10 can use that for -- for financial support.              They -- if

   11 -- if it is something that is in -- or is appropriate to

   12 FMLA, then they can use -- also use -- again, it's any

   13 funding they might have available in their banks, but

   14 they could also qualify for FMLA, which secures their

   15 position upon return.         Otherwise, if they have no PTO

   16 bank, then they're just taking a medical leave, and that

   17 means the company is approving them being out of the

   18 office on medical leave for whatever duration of time is

   19 needed and recommended by their physician.

   20         Q.    If the employee has PTO banked, would they be

   21 able to use that PTO to cover the employee portion of

   22 their healthcare deductions?

   23         A.    Yes.

   24         Q.    Before the first payroll check would be

   25 processed on someone on leave like this, would you have
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page71
                                                            Page7171
                                                                  ofof90
                                                                       90PageID
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    1 a discussion with the employee or their family,

    2 depending on the circumstances, as to how to address

    3 their pay moving forward?

    4         A.    Yes.    So again, I'm not referencing this

    5 particular case, because I don't remember all of the

    6 nuances of this particular case, but if someone was

    7 going on a medical leave of absence and they wanted to

    8 maintain their health insurance, we would have a

    9 conversation with them saying, "This is how much your

   10 premium is, and we can either -- if you're using PTO, we

   11 can -- we can pay it as -- as you would normally," and

   12 if somebody said they wanted to just pay us in one lump

   13 sum, then they could pay that themselves.

   14         Q.    Okay.

   15         A.    But I don't remember the circumstances

   16 surrounding Emmaline specifically.            That's just

   17 generally how it works.

   18         Q.    Okay.    Do you know if Emmaline ever received a

   19 COBRA notice, whether it be in April or whether it be

   20 towards the end of the year, when her employment did

   21 cease from the Emerge Group?

   22         A.    I -- I don't know.

   23         Q.    Okay.    Moving on to a different employee, who

   24 we talked about briefly earlier, was Ms. Roberge, Penny

   25 Roberge.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page72
                                                            Page7272
                                                                  ofof90
                                                                       90PageID
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                                                                                 1543

    1         A.    Uh-huh.

    2         Q.    Are you familiar with Ms. Roberge?

    3         A.    Yes, I am.

    4         Q.    Okay.     Do you recall receiving e-mails from

    5 her complaining about not getting paid at the end of

    6 2022?

    7         A.    Yes.

    8         Q.    And can you summarize your understanding of

    9 what she was complaining about?

   10         A.    She had concerns that she was working and not

   11 getting paid.

   12         Q.    Did you receive concerns like this from other

   13 employees, too?

   14         A.    Not -- not specifically the way she did it.

   15 People would ask when we thought funding would come

   16 through so that we could be issuing payroll.

   17         Q.    Okay.     And how did you think that she did it?

   18         A.    Well, she would send me e-mails.

   19         Q.    Okay.

   20         A.    And I believe she verbalized her concern to

   21 Ruby, but I don't know that that's through a

   22 conversation that Ruby and I had together, but I know

   23 I've specifically received, I think, at least -- at

   24 least one, possibly two e-mails from her with her

   25 concerns.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page73
                                                            Page7373
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1283
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    1              MR. WOOD:     Okay.   So I'm going to share my

    2        screen again.      I've got some e-mails that we can

    3        review. This will be Plaintiff's 10.

    4               (EXHIBIT 10 MARKED FOR IDENTIFICATION)

    5               BY MR. WOOD:

    6         Q.    And -- so this is four pages, emails going

    7 back into November of '22 and into December, and as I

    8 scroll through this, do you recognize these

    9 conversations?

   10         A.    Uh-huh, yes.

   11         Q.    Okay.     What was your reaction to her e-mails

   12 to you in this chain, in the November-December time

   13 frame?

   14         A.    I had the same concerns -- concerns for her

   15 that I did for everyone who was not getting paid.

   16         Q.    All right.     Down here in -- on December 1st,

   17 you know, she's obviously frustrated.             She says, "It's

   18 absurd on how you want people to continue working their

   19 asses off and not get any money.            For God's sake, it's

   20 the damn holidays."         Do you remember receiving this?

   21         A.    Uh-huh.

   22         Q.    Did you have a conversation with Lance or Phil

   23 about this e-mail?

   24         A.    I -- yeah, I let them know that we had

   25 received it.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page74
                                                            Page7474
                                                                  ofof90
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    1         Q.     Okay.   And it looks like Lance, on his own,

    2 responded pretty quickly, saying it's not your fault,

    3 which -- if we -- if we scroll down, Penny seems to say,

    4 "I didn't blame Gillean."          But she continues to complain

    5 about not getting paid, and looks like you're on this e-

    6 mail, too.       Was this a common feeling within the

    7 company, that employees were very frustrated that they

    8 weren't getting paid?

    9               MR. HENDERSON:     Objection.    Form.

   10         A.     I -- I can't speak to other people's thoughts

   11 on it, so I can only go based on what we're looking at

   12 right here in front of me.          Obviously, Penny is

   13 frustrated, and I recall her frustrations.               Any other

   14 answer would be me surmising people's reactions to it.

   15                BY MR. WOOD:

   16         Q.     Okay.   Did you discuss this with her after

   17 this e-mail here, looking at December 1st at 4:53?

   18         A.     I did not discuss it with her.          I -- I did not

   19 discuss it with her, and I -- I can't remember who

   20 might've, so I don't want to misspeak.

   21         Q.     Okay.   And looks like she CC-ed a Dr. Zaidi on

   22 there.       Was --

   23         A.     Yes.

   24         Q.     -- that someone that she worked with directly?

   25         A.     Yes.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page75
                                                            Page7575
                                                                  ofof90
                                                                       90PageID
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                                                                                 1546

    1         Q.     Okay.   Is he still providing services to

    2 Emerge?

    3               MR. WOOD:   Okay.    We're going to move on to

    4        Plaintiff's 11.

    5                (EXHIBIT 11 MARKED FOR IDENTIFICATION)

    6                BY MR. WOOD:

    7         Q.     And this is an e-mail from January 6th of '23

    8 at 11:46 a.m. from Penny to Lance, Phil, and you. Short,

    9 says, "I'm looking for updates you have on any of our

   10 back pay, haven't heard from you -- anyone since the

   11 meeting we had about three weeks ago."             Do you remember

   12 getting this e-mail?

   13         A.     I -- I believe so.      I'm --

   14         Q.     Okay.   She mentions a meeting three weeks ago

   15 or so.       It's sent to the three of you.        Do you remember

   16 if you took part in a meeting with her in December,

   17 probably between December 1st and the end of the year,

   18 about back pay?

   19         A.     I -- if -- if I am recalling correctly, we had

   20 a call, an all call -- an all-team call, because people

   21 were in different locations.           So basically, we had a

   22 team meeting, and there were some people in person and

   23 there's some people on a call, where Lance gave everyone

   24 an update.       I believe that is the meeting she is

   25 referencing.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page76
                                                            Page7676
                                                                  ofof90
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    1         Q.    And this would've been the end of 2022?

    2         A.    Yeah.    It would've -- it was mid-December.

    3         Q.    And is it fair to say that Lance said

    4 something along the lines of, "We've got investors lined

    5 up," or, "We're -- it's coming, we're hoping," giving

    6 promises that basically, "Hold on, the money will be

    7 here"?

    8         A.    I -- I would say yes, that's -- because that

    9 is what -- what the -- the ongoing concern was, was

   10 getting investors to finalize.

   11         Q.    And the consistent communication that was sent

   12 to the employees was somewhat along those lines, saying

   13 that there's investors coming, it's a slow process,

   14 "Hold out, we'll get you paid"?

   15         A.    Yes.

   16         Q.    Okay.

   17         A.    Yes.

   18         Q.    I don't know that I have it in any of these e-

   19 mails, but I believe that there was also e-mails that

   20 informed employees that if they had any bank charges,

   21 because of the not paying the payroll, that the company

   22 would reimburse those bank charges.            Do you remember any

   23 communication about that?

   24         A.    The bank charges were specific to if an

   25 employee had received a paycheck and that paycheck
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page77
                                                            Page7777
                                                                  ofof90
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    1 didn't clear, and they were subject to bank fees because

    2 they expected funds to be there that weren't there,

    3 and/or they were charged a bank fee for the bounced

    4 check that the company would reimburse them.              We would

    5 not reimburse just random bank fees.             It was all

    6 associated to anticipated funds in the -- in -- in the

    7 form of a payroll check not clearing.

    8         Q.    So this would've been more of a concern back

    9 in the first quarter of '22, the -- or second, I guess.

   10         A.    For the first half of the year.

   11         Q.    Yeah, the first half of the year.

   12         A.    The first half of the year, '22.

   13              MR. WOOD:    Okay.     Now, this e-mail was on this

   14        page, it was this one page, 20, the e-mail from

   15        Penny to the three of you at 11:46.          We're going to

   16        mark this as Plaintiff's 12.

   17               (EXHIBIT 12 MARKED FOR IDENTIFICATION)

   18               BY MR. WOOD:

   19         Q.    Wait.    Very nice.     This is two pages.      On the

   20 first page is an e-mail from you to Penny, January 6th,

   21 same day, at 4:47 p.m., and it says, "Attached is a 1099

   22 Contractor Agreement."         If you go to the second page, it

   23 looks like there's two PDFs that were attached to this

   24 e-mail.      Do you recall this e-mail?

   25         A.    Yes.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page78
                                                            Page7878
                                                                  ofof90
                                                                       90PageID
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    1         Q.    Okay.     You state here that, "Please be

    2 advised, the pay period for December 26th through

    3 January 8th will be processed as standard -- as a

    4 standard period." Do you know if that payroll was ever

    5 processed?

    6         A.    Yes.

    7         Q.    Okay.

    8         A.    I don't know if it was distributed, but it was

    9 processed.

   10              MR. WOOD:     Okay.   Now I'm going to open up the

   11        letter that was attached.        We can mark this as

   12        Plaintiff's 13.

   13               (EXHIBIT 13 MARKED FOR IDENTIFICATION)

   14               BY MR. WOOD:

   15         Q.    This is three pages.       I can scroll through the

   16 other -- well, the last page is nothing.              Second page is

   17 a signature.         But here -- the first page is where the

   18 bulk of it --

   19         A.    Uh-huh.

   20         Q.    There's a signature at the bottom, Lance's

   21 signature.      Do you know if that was a wet signature or

   22 if you put that signature on there?

   23         A.    That was not wet.

   24         Q.    Okay.

   25         A.    I put that on there.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page79
                                                            Page7979
                                                                  ofof90
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                                                                                 1550

    1         Q.    Did Lance have the opportunity to review and

    2 approve this contractor offer letter before it was

    3 transmitted to Penny?

    4         A.    Yes.

    5         Q.    Okay.

    6         A.    And the e-mail -- the body of the e-mail also

    7 was approved by Lance and by Phil.

    8         Q.    Okay.    And so this was in response to her e-

    9 mail that morning asking for an update, right?

   10         A.    I would not say it was in response to it.

   11 That was the -- the coincidence of timing with this,

   12 because everyone who was currently an employee at that

   13 point in time received their own version of this.

   14         Q.    Okay.    Did anyone ever respond -- do you know

   15 if anyone responded to that e-mail that she sent out in

   16 the morning asking for an update on back pay?

   17         A.    I don't recall.

   18         Q.    Okay.    So here, it says that her employment

   19 with First Choice Medical Group of Brevard, LLC, d/b/a

   20 Emerge Healthcare Group, LLC, is terminated.              So she

   21 ceased being an employee at that time, right?

   22         A.    Correct.

   23         Q.    Do you know the reason why she was to stop

   24 being an employee at that time?

   25         A.    All employees were sort of given the same
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page80
                                                            Page8080
                                                                  ofof90
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                                                                          PageID1290
                                                                                 1551

    1 notification.         The only two employees the company was

    2 keeping were Phil and Lance.

    3         Q.    Sure, but what was the reason behind this?            Do

    4 you know?

    5         A.    The company wanted to switch everyone over to

    6 1099s.

    7         Q.    Do you know why they wanted to switch from W-2

    8 to 1099?

    9         A.    I don't know specifics.        I know I was told

   10 that that was the -- the decision and that's what we

   11 were going to do, so everyone, with the exception of

   12 Phil and Lance, was given the opportunity to become a

   13 1099 employee.        If they chose not to do this, then they

   14 would not have been working for the company any longer.

   15         Q.    Okay.    So the option here was work as a 1099

   16 or don't work at all?

   17         A.    Correct.

   18         Q.    Do you know if the terms here for Penny were

   19 any different than the terms she had as a W-2 employee?

   20         A.    Her rate of pay is higher than her standard

   21 pay.

   22         Q.    Okay.    Was that the only change, is the rate

   23 of pay?

   24         A.    Yep.

   25         Q.    Okay.    Her duties didn't change at all, right?
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page81
                                                            Page8181
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1291
                                                                                 1552

    1         A.    No.     Her supervisor's the same, all of her

    2 duties would be the same.

    3         Q.    Okay.    Do you know who came up with the idea

    4 to transition all of the W-2s, with the exception of

    5 Phil and Lance, to 1099s?

    6         A.    I don't know specifically who.           I know there

    7 was conversation between Phil, Lance, Julie, and I,

    8 which is where I found this is what we were doing.

    9         Q.    This -- those conversations about the

   10 transition, those would've taken place after the DOL

   11 investigation, correct?

   12         A.    It -- this was all -- that investigation was

   13 ongoing throughout this.

   14         Q.    Okay.    And it also would've taken place after

   15 or during the time frame where employees were filing

   16 lawsuits against the company for back wages and

   17 benefits; is that right?

   18         A.    Yes, this is after that period of time.

   19         Q.    Okay.    Do you know if it was discussed that

   20 this would be the strategy to limit the exposure of the

   21 company and the officers?

   22              MR. HENDERSON:      Objection.    Form.

   23         A.    I don't know.

   24               BY MR. WOOD:

   25         Q.    Do you know of any contractors who accepted
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page82
                                                            Page8282
                                                                  ofof90
                                                                       90PageID
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                                                                                 1553

    1 this agreement -- and this agreement, we're talking

    2 about the offer, which is, I'm assuming, similar, with

    3 the exception of the -- you know, the title, the rate of

    4 pay, it's the same for everyone, right?

    5         A.    Correct.

    6         Q.    Do you know if any contractors have been paid

    7 under this new agreement?

    8         A.    There have been some of -- some invoices have

    9 been able to be paid to these contractors.

   10         Q.    Yeah.     Okay.   Penny did not accept it; is that

   11 right?

   12         A.    Penny did not accept it.

   13         Q.    Do you recall why?

   14         A.    Penny basically gave us one day's notice and

   15 stopped working at the company.

   16         Q.    The company still owed her back wages at that

   17 time, right?         At the time of the letter -- the offer

   18 letter was sent.

   19         A.    Yes.

   20         Q.    And the company did not bring her current on

   21 those back wages before she was going to enter into this

   22 new agreement, correct?

   23         A.    Correct.

   24         Q.    Do you recall her being concerned with the

   25 fact that the company still owed her back wages and now
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page83
                                                            Page8383
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1293
                                                                                 1554

    1 she's going to enter into a contractor agreement with no

    2 guarantee she was going to be paid?

    3         A.    I never had that conversation with her.

    4         Q.    Okay.    Other than what we've discussed today

    5 with regard to Ms. Roberge, do you remember

    6 communications between yourself and Lance, Phil, any of

    7 the higher-ups, about terminating Ms. Roberge or

    8 providing her with this offer?

    9         A.    We -- we never entered a conversation

   10 regarding terminating her.          She worked well with Dr.

   11 Zaidi, and the two of them were a good team, so we would

   12 not have -- we would not have considered that.

   13         Q.    But the very first sentence of this letter

   14 does say that, doesn't it?

   15         A.    It says that -- everyone's letter says that,

   16 and that is part of what we need to do to end an

   17 employee working for a company as opposed to becoming a

   18 1099 contract employee, so that they -- we were very

   19 clear in the verbiage so that they would understand that

   20 they were no longer employees of the company, they are

   21 now 1099 contract employees.

   22         Q.    So just to be clear, at this time, January

   23 6th, Emerge had owed Penny back wages for working, and

   24 it decided that it was going to enter into a contract at

   25 a higher rate of pay with Penny, even though it couldn't
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page84
                                                            Page8484
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1294
                                                                                 1555

    1 pay its back -- the back wages to her?

    2                MR. HENDERSON:      Objection.   Form.

    3         A.      That was the decision that was made.

    4                 BY MR. WOOD:

    5         Q.      By?

    6         A.      Ultimately, Lance and Phil, as the leaders of

    7 the company.

    8         Q.      Okay.   And bear with me, I'm going to see if I

    9 can find an old paycheck of hers, just to make sure.

   10 Okay.

   11                MR. WOOD:   Okay.     I don't think I have anything

   12        else.     James, do you have anything?

   13                MR. HENDERSON:      No questions.

   14                MR. WOOD:   Okay.     We're going to order.     Ms.

   15        Lee, you'll have the opportunity or option to read

   16        the transcript when it's available, to do an errata

   17        sheet, which will be to clarify -- correct the --

   18        your answers if they were taken down incorrectly.

   19                THE WITNESS:     Okay.

   20                MR. WOOD:   You can waive that.      I know that --

   21        I think, James, you kind of helped coordinate this.

   22        I don't know if you were going to coordinate that

   23        process also or not.

   24                MR. HENDERSON:      Yeah, that'd be fine.     Our

   25        office would be happy to coordinate it if she wants
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page85
                                                            Page8585
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1295
                                                                                 1556

    1        to read.

    2              MR. WOOD:    Okay.     So it's up to you, she -- the

    3        court reporter probably wants it on the record

    4        whether or not you want to read the transcript or if

    5        you'll waive that.

    6              THE WITNESS:     Could I have the opportunity to

    7        talk Attorney Henderson separately, or do I have to

    8        give an answer right now?

    9              MR. WOOD:    Okay.

   10              MR. HENDERSON:       Why don't we just say that

   11        she'll go ahead and read?

   12              MR. WOOD:    Yeah, okay.

   13              THE WITNESS:     Okay.

   14              MR. WOOD:    That's safer.      You can --

   15              MR. HENDERSON:       Play it safe.

   16              MR. WOOD:    You can waive it later.

   17              MR. HENDERSON:       Yeah, yeah.

   18              THE WITNESS:     No problem.

   19              MR. HENDERSON:       You also don't want to read it;

   20        you don't have to.

   21              MR. WOOD:    Yes.     Okay, so that --

   22              THE REPORTER:       You want a copy?     Just need to

   23        make sure.

   24              MR. HENDERSON:       Not as of this time.

   25              THE REPORTER:       Okay.
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page86
                                                            Page8686
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1296
                                                                                 1557

    1                MR. HENDERSON:     Yeah.

    2                MR. WOOD:   So that's all I've got for today.

    3        Kaitlyn, I will try to get all these documents

    4        prepared for you in an e-mail.

    5                THE REPORTER:     Perfect.

    6                MR. WOOD:   Along with this afternoon's.        Ms.

    7        Lee, thank you so much.        We had a bit of technical

    8        issues, but you're very cooperative.           I appreciate

    9        that.

   10                THE WITNESS:     Thank you.   I'm sorry if it was

   11        coming from my end, so --

   12                MR. HENDERSON:     Thanks, Ms. Lee.

   13                MR. WOOD:   It's all right.     Well, thank you

   14        very much.

   15                 (DEPOSITION CONCLUDED AT 2:41 P.M.)

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 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page87
                                                            Page8787
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1297
                                                                                 1558

    1 CERTIFICATE OF OATH

    2

    3 STATE OF FLORIDA

    4 COUNTY OF ORANGE

    5

    6         I, the undersigned, certify that the witness in the

    7 foregoing transcript personally appeared before me and

    8 was duly sworn.

    9

   10 Identification:        Produced Identification

   11

   12

   13

   14                           ______________________________

   15                           KAITLYN HARRIS

   16                           Court Reporter, Notary Public

   17                           State of Florida

   18                           Commission Expires: 06/06/2027

   19                           Commission No.: HH 407171

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 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page88
                                                            Page8888
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1298
                                                                                 1559

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    2                         C E R T I F I C A T E

    3

    4 STATE OF FLORIDA)

    5 COUNTY OF ORANGE)

    6

    7         I, KAITLYN HARRIS, Court Reporter and Notary Public

    8 for the State of Florida at Large, do hereby certify

    9 that I was authorized to and did report the foregoing

   10 proceeding, and that said transcript is a true record of

   11 the said proceeding.

   12

   13         I FURTHER CERTIFY that I am not of counsel for,

   14 related to, or employed by any of the parties or

   15 attorneys involved herein, nor am I financially

   16 interested in said action.

   17

   18 Submitted on: July 27, 2023.

   19

   20

   21

   22                           ______________________________

   23                           KAITLYN HARRIS

   24                           Court Reporter, Notary Public

   25
Case
 Case6:23-cv-00581-RMN
      6:23-cv-00581-RMN   Document
                      276219        49-17
                                    50-3 07-17-2023
                             Lee Gillean   Filed 06/10/24
                                                 05/13/24 Page
                                                           Page89
                                                            Page8989
                                                                  ofof90
                                                                       90PageID
                                                                          PageID1299
                                                                                 1560

    1                                        ERRATA

    2

    3 PAGE         LINE                         CHANGE        REASON

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   16 I have read the entire transcript of my deposition taken

   17 in the captioned matter or the same has been read to

   18 me.I request that the following changes be entered upon

   19 the record for the reasons indicated. I have signed my

   20 name to the Errata Sheet and authorize you to attach the

   21 changes to the original transcript.

   22

   23

   24 ______________________             _________________________

   25 Date                               NAME
      Case
       Case6:23-cv-00581-RMN
            6:23-cv-00581-RMN Document 49-17
                                       50-3 Filed 06/10/24
                                                  05/13/24 Page
                                                            Page90
                                                                 90ofof90
                                                                        90PageID
                                                                           PageID1300
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                                                                                                                         407.423.9900
                                                                                                                     Fax 407.841.2779
                                                                                                              Toll Free 855-MYDEPOS




July 27, 2023
Gillian Lee
jhenderson@fresewhitehead.com



RE:      Deposition of Gillian Lee taken on 7/17/2023
         Jean Decarlo et al. v. Emerge Healthcare Group et al.

Dear Gillian Lee,

                    IMPORTANT NOTICE FOR DEPOSITION TRANSCRIPT READ AND SIGN
  It is suggested that the review of this transcript be completed within 30 days of your receipt of this letter, as
                                  considered reasonable under Federal Rules*.

        Attorney - Copy of Transcript Enclosed: Signature of the Deponent is required. Please have the deponent
make any corrections/changes necessary on the Errata Sheet ONLY, sign name on the form where indicated. Please
return ONLY the original signed Errata Sheet to our offices within 30 days from the date of this memorandum. If you have
any questions, please call our offices.

 x       Attorney - No Copy Ordered: Since you did not request a copy of the transcript, it will be necessary for the
Deponent to call our offices to arrange for an appointment to read and sign the transcript of the Deposition within 30 days
of this memorandum.

         Deponent: At the time of your deposition, you did not waive your right to read and sign the transcript of your
testimony, therefore, attached please find a copy of the transcript and Errata Sheet. Please read the transcript, make any
corrections necessary on the Errata Sheet ONLY, sign the bottom of the Errata Sheet, and return it within 30 days from the
date of this memorandum. Please call our offices if you have any questions.

        Deponent: At the time of your deposition, you did not waive your right to read and sign the transcript of your
testimony, therefore, it is necessary for you to come to our offices to read and sign same. Please call Milestone Reporting
Company to arrange for an appointment at your earliest convenience.

        The attached executed copies of the Errata Sheet(s) are sent to you for your files. If you have any questions,
please call our offices.

Thank you for your attention to this matter.

No. 276219

cc:

Waiver:
I, Gillian Lee, hereby waive the reading and signing of my deposition transcript.

__________________________________________                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
Deponent Signature                                                                          Date

*Federal Civil Procedure Rule 30 (e) / Florida Civil Procedure Role 1.310 (e)




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